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                                  ROPERS MAJESKI PC
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                              5   Attorneys for Defendant-Appellants
                                  DARREN D. CHAKER
                              6

                              7

                              8                       UNITED STATES DISTRICT COURT
                              9                    SOUTHERN DISTRICT OF CALIFORNIA
A Professional Corporation




                             10

                             11   SCOTT A. MCMILLAN, an individual;         Case No. 3:16-cv-2186-WQH-MDD
       Los Angeles




                                  THE MCMILLAN LAW FIRM, APC,
                             12   a California professional corporation,    Hon. William Q. Hayes
                                                                            Courtroom 14B
                             13                  Plaintiffs – Appellants,
                                                                            DEFENDANT-APPELLEE
                             14         v.                                  DARREN D. CHAKER'S NOTICE
                                                                            OF LODGING DOCUMENTS
                             15   DARREN D. CHAKER, an individual,
                                  and as trustee of PLATINUM
                             16   HOLDINGS GROUP TRUST, dba                 [Filed Concurrently with Sur-Reply
                                  COUNTER FORENSICS; NICOLE                 and (Proposed) Order]
                             17   CHAKER, an individual, and as trustee
                                  of THE NICOLE CHAKER                      DATE: SEPTEMBER 12, 2022
                             18   REVOCABLE LIVING TRUST, U/A
                                  dated August 18, 2010, VANIA              NO ORAL ARGUMENT UNLESS
                             19   CHAKER, an individual and as              REQUESTED BY THE COURT
                                  beneficiary of The Island Revocable
                             20   Trust under,
                                                                            Action Filed:   August 29, 2016
                             21                  Defendants – Appellees.    Trial Date:     None
                             22                                             [PART 2 OF 2 - 1190-1330]
                             23   ///
                             24   ///
                             25   ///
                             26   ///
                             27   ///
                             28   ///
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                              1            TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                              2            Defendant-Appellant DARREN D. CHAKER (“Defendant-Appellant”)
                              3   hereby lodges a copy of the case file for United States District Court, Southern
                              4   District of California, case file designated 3:16-cv-2186-WQH-MDD, which is
                              5   attached hereto as Exhibit "A" with the Index of the documents. The case file has
                              6   been highlighted to identify, pursuant to this Court’s order of September 9, 2022, the
                              7   identifying characteristics contained therein which Defendant-Appellee seeks to be
                              8   redacted from the Record.
                              9   Dated: September 23, 2022                  ROPERS MAJESKI PC
A Professional Corporation




                             10

                             11
       Los Angeles




                                                                             By:
                                                                                   STEPHEN J. ERIGERO
                             12                                                    Attorneys for Defendant/Appellee
                                                                                   Darren D. Chaker
                             13

                             14

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                                                                           -2-
                                                                                       DEFENDANT-APPELLEE DARREN D. CHAKER'S
                                                                                               NOTICE OF LODGING DOCUMENTS
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       EXHIBIT "A"
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                  1 GILBERT, KELLY, CROWLEY & JENNETT LLP
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                    (619) 687-3000; FAX: (213) 615-7100
                  6
                    Mailing Address:
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                    Los Angeles, California 90071-2627
                  8
                    Attorneys for Defendant
                  9 NICOLE CHAKER
               10                                    UNITED STATES DISTRICT COURT
               11                                   SOUTHERN DISTRICT OF CALIFORNIA
               12
               13 SCOTT A. MCMILLAN, an individual,                     )   Case No. 3:16-CV-02186-WQH-MD
                  THE MCMILLAN LAW FIRM, APC, a                         )
               14 California professional corporation,                  )   Judge: William Q. Hayes
                                                                        )   Courtroom 14B
               15                        Plaintiffs,                    )
                                vs.                                     )   Magistrate Hon. Mitchell D. Dembin
               16                                                       )   Courtroom 11th Floor
                  DARREN D. CHAKER an individual,                       )
               17 and as trustee of PLATINUM                            )
                  HOLDINGS GROUP TRUST, dba                             )   NOTICE OF CHANGE OF FIRM
               18 COUNTER FORENSICS; NICOLE                             )   NAME
                  CHAKER, an individual, and as trustee                 )
               19 of THE NICOLE CHAKER                                  )
                  REVOCABLE LIVING TRUST, U/A                           )
               20 dated August 18, 2010, VANIA                          )
                  CHAKER, an individual and as                          )
               21 beneficiary of The Island Revocable                   )
                  Trust under Declaration of Trust dated                )
               22 June 2, 2015, MARCUS MACK as                          )
                  trustee of The Island Revocable Trust                 )
               23 under Declaration of Trust dated June 2,              )
                  2015,                                                 )
               24                                                       )
                               Defendants.                              )
               25                                                       )
               26               TO THE COURT, ALL INTERESTED PARTIES AND TO THEIR
               27 RESPECTIVE ATTORNEYS OF RECORD:
               28               PLEASE TAKE NOTICE that effective April 1, 2017, the Firm name Gilbert,
    Gilbert, Kelly
Crowley & Jennett LLP
   Attorneys at Law                                      NOTICE OF CHANGE OF FIRM NAME

                        4299701.1 48811-00002 TWK                                        3:16-CV-02186-WQH-MD
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                  1 Kelly, Crowley & Jennett LLP shall become FREEMAN MATHIS & GARY,
                  2 LLP. The addresses and telephone numbers shall remain the same.
                  3 Dated: March 31, 2017                    GILBERT, KELLY, CROWLEY & JENNETT
                                                             LLP
                  4
                  5
                                                            By:
                  6                                               ARTHUR J. Mc KEON III
                                                                  REBECCA J. SMITH
                  7                                               Attorneys for Defendant
                                                                  NICOLE CHAKER
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    Gilbert, Kelly
Crowley & Jennett LLP
                                                                  -2-
   Attorneys at Law                                 NOTICE OF CHANGE OF FIRM NAME

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                  1                                        PROOF OF SERVICE
                  2
                  3       I am employed in the County of Los Angeles, State of California. I am over
                    the age of 18 and not a party to the within action. My business address is 550 South
                  4 Hope Street, 22nd Floor, Los Angeles, CA 90071-2627.
                  5             On March 31, 2017, I served the within document(s) described as:
                  6             NOTICE OF CHANGE OF FIRM NAME
                  7             on the interested parties in this action as stated below:
                8 Scott A McMillan                                        Scott A. McMillan,
                  The McMillan Law Firm, APC                              The McMillan Law Firm, APC
                9 4670 Nebo Drive                                         (Plaintiff)
                  Suite 200
               10 La Mesa, CA 91941-5230
               11 Phone: (619)464-1500
                  Fax: (619)828-7399
               12 Email: scott4670@gmail.com
               13
               14 Timothy J. Grant                                        Darren D. Chaker
                  Fredrickson, Mazeika & Grant, LLP                       (Defendant)
               15 5720 Oberlin Drive
                  San Diego, CA 92121
               16
                  Phone: 858-642-2002
               17 Fax: 858-642-2001
                  Email: tgrant@fmglegal.com
               18
               19
                  Ryan G. Baker                                           Vania Chaker
               20 Baker Marquart LLP                                      (Defendant)
                  2029 Century Park East
               21 Suite 1600
                  Los Angeles, CA 90067
               22
                  Phone: 424-652-7800
               23 Fax: 424-652-7850
                  Email: rbaker@bakermarquart.com
               24
               25        0
                         X      (BY ELECTRONIC SUBMISSION): I served the above listed document(s)
                                described via the United States District Court’s Electronic Filing Program on the
               26               designated recipients via electronic transmission through the CM/ECF system on the
                                Court’s website. The Court’s CM/ECF system will generate a Notice of Electronic
               27               Filing (NEF) to the filing party, the assigned judge, and any registered users in the
                                case. The NEF will constitute service of the document(s). Registration as a CM/ECF
               28               user constitutes consent to electronic service though the court’s transmission facilities.
    Gilbert, Kelly
Crowley & Jennett LLP
   Attorneys at Law                                           PROOF OF SERVICE
                        4299701.1 48811-00002 TWK                                             3:16-CV-02186-WQH-MD
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                  1
                  2      0
                         X      (BY U.S. MAIL): By placing a true copy of the foregoing document(s) in a
                                sealed envelope addressed as set forth on the attached mailing list. I placed
                  3             each such envelope for collection and mailing following ordinary business
                                practices. I am readily familiar with this Firm's practice for collection and
                  4             processing of correspondence for mailing. Under that practice, the
                                correspondence would be deposited with the United States Postal Service on
                  5             that same day, with postage thereon fully prepaid at San Diego, California, in
                                the ordinary course of business. I am aware that on motion of the party
                  6             served, service is presumed invalid if postal cancellation date or postage meter
                                date is more than one day after date of deposit for mailing in affidavit.
                  7
                                Executed on March 31, 2017, at Los Angeles, California.
                  8
                                I declare under penalty of perjury that the foregoing is true and correct.
                  9
               10                   GRISELDA GREER
                                    (Type or print name)                               (Signature)
               11
               12
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               28
    Gilbert, Kelly
Crowley & Jennett LLP
   Attorneys at Law
                                                           PROOF OF SERVICE
                        4299701.1 48811-00002 TWK                                       3:16-CV-02186-WQH-MD
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 1
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 5
 6                         UNITED STATES DISTRICT COURT
 7                        SOUTHERN DISTRICT OF CALIFORNIA
 8
 9   SCOTT A. MCMILLAN, an                            Case No.: 16cv2186-WQH-MDD
     individual; THE MCMILLAN
10
     LAW FIRM, APC, a California                      ORDER
11   professional corporation,
12                                  Plaintiffs,
13   v.
14   DARREN D. CHAKER, an
     individual, and as trustee of
15
     PLATINUM HOLDINGS GROUP
16   TRUST doing business as
     COUNTER FORENSICS;
17
     NICOLE CHAKER, an individual,
18   and as trustee of Nicole Chaker
     Trust One; VANIA CHAKER, an
19
     individual and as beneficiary of
20   The Island Revocable Trust under
     Declaration of Trust dated June 2,
21
     2015; MARCUS MACK, as
22   trustee of The Island Revocable
     Trust under Declaration of Trust
23
     dated June 2, 2015; NICOLE
24   CHAKER, an individual, and as
     trustee of The Nicole Chaker
25
     Revocable Living Trust, U/A dated
26   August 18, 2010
27                                Defendants.
28   HAYES, Judge:

                                                  1
                                                                         16cv2186-WQH-MDD
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 Case
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 1           The matter before the Court is the motion for extension of time to file cross-appeal
 2   filed by Defendant Nicole Chaker. (ECF No. 90).
 3      I.      BACKGROUND
 4           On December 5, 2016, Plaintiffs Scott A. McMillan and The McMillan Law Firm,
 5   APC filed the First Amended Complaint (“FAC”) against Defendant Darren D. Chaker, an
 6   individual and as trustee of Platinum Holdings Group Trust, dba Counter Forensics;
 7   Defendant Nicole Chaker, an individual and as trustee of The Nicole Chaker Revocable
 8   Living Trust, U/A dated August 18, 2010; Defendant Vania Chaker, an individual and as
 9   beneficiary of The Island Revocable Trust under Declaration of Trust dated June 2, 2015;
10   and Defendant Marcus Mack, as trustee of the Island Revocable Trust under Declaration
11   of Trust dated June 2, 2015. (ECF No. 25). Plaintiffs brought a cause of action for a
12   violation of the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C.
13   § 1962(c) against Defendant Darren Chaker. Id. ¶¶ 84–114. Plaintiffs brought a second
14   cause of action for conspiracy to violate RICO, 18 U.S.C. § 1962(d) against all Defendants.
15   Id. ¶¶ 115–119. Plaintiffs brought a third cause of action for civil extortion under
16   California law against Defendants Darren Chaker and Nicole Chaker. Id. ¶¶ 120–133.
17           On August 28, 2017, the Court dismissed the First Amended Complaint without
18   prejudice and granted Plaintiffs thirty days to file any motion for leave to file an amended
19   complaint. (ECF No. 83). The docket reflects that Plaintiffs did not file any subsequent
20   motion for leave to file an amended complaint. Pursuant to its August 28, 2017 Order, the
21   Court issued an order directing the Clerk of Court to close the case on October 10, 2017.
22   (ECF No. 86).
23           On November 5, 2017, Plaintiffs filed a notice of appeal to the United States Court
24   of Appeals for the Ninth Circuit. (ECF No. 87).
25           On December 12, 2017, Defendant Nicole Chaker filed a motion for extension of
26   time to file cross-appeal. (ECF Nos. 90, 91). On December 29, 2017, Plaintiffs filed a
27   response in opposition. (ECF No. 92). On January 8, 2018, Defendant Nicole Chaker filed
28   a reply. (ECF No. 93).

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 1      II.      CONTENTIONS OF THE PARTIES
 2            Defendant moves the Court for an order extending the time to file a notice of cross-
 3   appeal by fourteen days pursuant to Federal Rule of Appellate Procedure 4(a)(5).
 4   Defendant contends that the late filing of the notice of cross-appeal is due to the excusable
 5   neglect of counsel for two reasons: (1) counsel for Defendant did not receive notice of the
 6   November 5, 2017 notice of appeal until November 9, 2017 after receiving a letter from
 7   the Ninth Circuit Court of Appeals and checking the Court website, and; (2) there was a
 8   delay in receiving confirmation from Defendant’s insurance carrier that Defendant’s
 9   counsel was also retained for the appeal. Defendant contends that there is no prejudice to
10   Plaintiff, the length of the delay is minimal and will not impact judicial proceedings, and
11   that counsel has acted in good faith. (ECF No. 90-1).
12            Plaintiff contends that the docket reflects that Defendant’s counsel did receive notice
13   of the appeal through the Court’s CM/ECF system on November 5, 2017. Plaintiff
14   contends that even if Defendant’s counsel did not receive notice until November 9, 2017,
15   Defendant’s counsel had sufficient time to file the cross-appeal. Plaintiff contends that
16   “neither good cause nor excusable neglect save the untimeliness of the motion.” (ECF No.
17   92 at 5). Plaintiff contends that the delay in receiving confirmation from the insurance
18   carrier is “irrelevant and similarly unpersuasive.” Id. at 8.
19      III.     DISCUSSION
20            Pursuant to Rule 4(a)(3) of the Federal Rules of Appellate Procedure, “If one party
21   timely files a notice of appeal, any other party may file a notice of appeal within 14 days
22   after the date when the first notice was filed, or within the time otherwise prescribed by
23   this Rule 4(a), whichever period ends later.” Fed. R. App. P. 4(a)(3). Federal Rule of
24   Appellate Procedure 4 provides,
25            The district court may extend the time to file a notice of appeal if: (i) a party
              so moves no later than 30 days after the time prescribed by this Rule 4(a)
26
              expires; and (ii) regardless of whether its motion is filed before or during the
27            30 days after the time prescribed by this Rule 4(a) expires, that party shows
              excusable neglect or good cause.
28

                                                      3
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 1
     Fed. R. App. P. 4(a)(5)(A); see also State of Or. v. Champion Int’l Corp., 680 F.2d 1300,
 2
     1301 (9th Cir. 1982). An extension under Rule 4(a)(5) may not “exceed 30 days after the
 3
     prescribed time or 14 days after the date when the order granting the motion is entered,
 4
     whichever is later.” Fed. R. App. P. 4(a)(5)(C). Courts rely on a four-part balancing test
 5
     to determine whether there has been excusable neglect warranting an extension of time to
 6
     file a notice of appeal. Pincay v. Andrews, 289 F.3d 853, 855 (9th Cir. 2004) (citing
 7
     Pioneer Inv. Servs. Co. v. Brunswick Assocs. Ltd. P’ship, 507 U.S. 380 (1993)). These
 8
     factors include: “(1) the danger of prejudice to the non-moving party, (2) the length of
 9
     delay and its potential impact on judicial proceedings, (3) the reason for the delay,
10
     including whether it was within the reasonable control of the movant, and (4) whether the
11
     moving party’s conduct was in good faith.” Id. (citing Pioneer, 507 U.S. at 395). “[T]he
12
     decision whether to grant or deny an extension of time to file a notice of appeal should be
13
     entrusted to the discretion of the district court . . . .” Id. at 859.
14
            Plaintiffs filed a notice of appeal in this action on November 5, 2017. (ECF No. 87).
15
     Defendant’s time to file a notice of appeal under Rule 4(a)(3) therefore expired on
16
     November 19, 2017. See Fed. R. App. P. 4(a)(3). The docket reflects that Defendant did
17
     not file any notice of appeal. Defendant filed a motion for an extension of the time to
18
     appeal on December 12, 2017. (ECF No. 90). This motion was filed within thirty days of
19
     November 19, 2017 and is therefore timely under Rule 4(a)(5)(A)(i). Accordingly, the
20
     Court has the discretion to grant Defendant’s request upon a finding excusable neglect and
21
     good cause. See Fed. R. App. P. 4(a)(5)(A)(ii).
22
            In this case, Defendant contends that an extension of time to file a cross-appeal is
23
     justified by excusable neglect. Defendant provides a declaration by Rebecca J. Smith,
24
     Defendant’s counsel, stating that counsel for Defendant did not receive any notice from
25
     this Court on November 5, 2017 when the notice of appeal was filed. Smith states that
26
     counsel was not notified of the appeal until November 9, 2017 upon receipt of a letter from
27
     the Ninth Circuit Court of Appeals. Smith states that this notice inadvertently was not
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 1   properly processed by counsel’s firm and the relevant dates were not properly calendared.
 2   (ECF No. 91 at 2–3). Smith further states that her office had been retained to represent
 3   Defendant in the underlying matter through her insurance carrier and that there was a delay
 4   in receiving notice from the insurance carrier that they had also been retained to represent
 5   Defendant in the appeal. Id. at 3–4. The Court concludes that Defendant’s conduct was in
 6   good faith and that the actions of counsel constitute excusable neglect. Further, the Court
 7   concludes that there is little danger of prejudice to Plaintiff and that any delay in this case
 8   will have a minimal impact on judicial proceedings. The Court concludes that Defendant’s
 9   failure to timely file the notice of appeal in this case constitutes excusable neglect and
10   warrants an extension of time pursuant to Rule 4(a)(5).
11         IT IS HEREBY ORDERED that Defendant Nicole Chaker’s motion for an extension
12   of time to file a notice of cross-appeal is GRANTED. (ECF No. 90). Defendant is granted
13   an extension of fourteen (14) days from the date of this Order to file a notice of appeal
14   pursuant to Federal Rule of Appellate Procedure 4(a)(5).
15    Dated: March 8, 2018
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1 Ha Scott A. McMillan, SBN 212506
  The McMillan Law Firm, APC
2 4670 Nebo Drive, Suite 200
  La Mesa, California 91941-5230
3 (619) 464-1500
  Email: scott@mcmillanlaw.us
4
     Attorney for Plaintiffs, SCOTT A. MCMILLAN, an individual, THE MCMILLAN
5    LAW FIRM, APC, a California Professional Corporation
6
7                       UNITED STATES DISTRICT COURT
8                    SOUTHERN DISTRICT OF CALIFORNIA
9     SCOTT A. MCMILLAN, an                  Case No. 3:16-CV-02186-WQH-MDD
10    individual, THE MCMILLAN LAW
      FIRM, APC, a California Professional   Judge: Hon. William Q. Hayes
11    corporation,                           Courtroom: 14B

12                    Plaintiffs,
                                             CERTIFICATE OF SERVICE
13
            v.
14
      DARREN D. CHAKER an individual, Hearing Date: February 6, 2017
15    and as trustee of PLATINUM             Courtroom: 14B
      HOLDINGS GROUP TRUST, dba              Complaint Filed: August 29, 2016
16    COUNTER FORENSICS; NICOLE
      CHAKER, an individual, and as trustee
17    of THE NICOLE CHAKER
      REVOCABLE LIVING TRUST, U/A
18    dated August 18, 2010, VANIA
      CHAKER, an individual and as
19    beneficiary of The Island Revocable
      Trust under Declaration of Trust dated
20    June 2, 2015, MARCUS MACK as
      trustee of The Island Revocable Trust
21    under Declaration of Trust dated June
      2, 2015,
22
      Defendants.
23
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26   ///
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1                             CERTIFICATE OF SERVICE
2    I, Scott A. McMillan, declare:
3          That I am admitted to practice in the United States District Court for the
4    Southern District of California. My business address is 4670 Nebo Dr., Ste. 200,
5    San Diego, California 91941.
6          On January 23, 2017, I caused the following document(s) to be served:
7          •         PLAINTIFFS' REQUEST FOR JUDICIAL NOTICE IN

8                    SUPPORT OF PLAINTIFFS' OPPOSITION TO MOTIONS

9                    TO DISMISS FILED BY NICOLE CHAKER [ECF 35, 36]

10
           •         DECLARATION OF SCOTT A. MCMILLAN IN SUPPORT
                     OF PLAINTIFFS' REQUEST FOR JUDICIAL NOTICE IN
11
                     SUPPORT OF PLAINTIFFS' OPPOSITION TO MOTIONS
12
                     TO DISMISS FILED BY NICOLE CHAKER [ECF 35, 36]
13
           •         this CERTIFICATE OF SERVICE
14
     [X] BY ELECTRONIC TRANSMISSION. I caused the above-listed
15
     document(s) described to be served via the United States District Court’s
16
     Electronic Filing Program on the designated recipients via electronic transmission
17
     through the CM/ECF system on the Court’s website. The Court’s CM/ECF
18
     system will generate a Notice of Electronic Filing (NEF) to the filing party, the
19
     assigned judge,, and any registered users in the case. The NEF will constitute
20
     service of the document(s). Registration as a CM/ECF user constitutes consent to
21
     electronic service through the court’s transmission facilities.
22
           Executed on January 23, 2017 in the City of La Mesa, California.
23
24                                          /S/ SCOTT A. MCMILLAN
25                                                ___________________________
                                            SCOTT A. MCMILLAN, SBN 212506
26
                                            The McMillan Law Firm, APC

27
28   3:16-CV-02186              CERTIFICATE OF SERVICE                                   2




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   6
   7                             UNITED STATES DISTRICT COURT
   8                          SOUTHERN DISTRICT OF CALIFORNIA
   9
       DARREN CHAKER,                                            CASE NO. 96cv0314
  10
                                           Plaintiff,            ORDER
  11           vs.

  12    OFFICERJ. DAVIS,
  13                                     Defendant.
  14
       HAYES, Judge:
  15
              On February 5, 1996, Plaintiff initiated this action by filing a Complaint in San Diego
  16
       County Superior Court. On February 22, 1996, Defendant removed the action to this Court,
  17
       alleging federal questionjurisdiction. (ECF No.1). On August 13, 1996, the Court dismissed
  18
       the case for lack of prosecution by Plaintiff. (ECF No. 15).
  19
              On July 30, 2012, Plaintiff filed a motion to seal the entire record of this case, along
  20
       with an ex parte application to file the motion under seaL Plaintiff contends that good cause
  21
       exists to seal the motion and entire record in this case because the documents disclose and
  22
       reference records that have been sealed by state court and local authorities. Plaintiff contends
  23
       that he has a significant privacy interest in having the records sealed because "the file acts as
  24
       a record of arrest that Plaintiff is allowed to deny."
  25
                                        RULING OF THE COURT
  26
              "Historically, courts have recognized a 'general right to inspect and copy public records
  27
       and documents, including judicial records and documents.'" Kamakana v. City and County
  28
       o/Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) quoting Nixon v. Warner Communs., Inc.,

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     I   435 U.S. 589, 597 & n.7 (1978). "A party seeking to seal a judicial record then bears the
    2 burden of overcoming this strong presumption by meeting the compelling reasons standard.
    3 That is, the party must articulate compelling reasons supported by specific factual findings ...
    4 that outweigh the general history of access and the public policies favoring disclosure, such
    5 as the public interest in understanding the judicial process." Kamakana, 447 F.3d at 1178·79
    6 (citations and quotation marks omitted). The presumed right to access to court proceedings
    7 and documents can be overcome "only by an overriding right or interest 'based on findings that
    8 closure is essential to preserve higher values and is narrowly tailored to serve that interest. '"
    9    Oregonian Publishing Co. v. United States District Court, 920 F .2d 1462, 1465 (9th Cir. 1990)
   10    quoting Press-Enterprise Co. v. Superior Court, 446 U.S. 501, 510 (1985).
   11           "Under the compelling reasons standard, a district court must weigh relevant factors,
   12 base its decision on a compelling reason, and articulate the factual basis for its ruling, without
   13 relying on hypothesis or conjecture." Pintos v. Pacific Creditors Ass 'n, 605 F.3d 665,659 (9th
   14 Cir. 20 1O)(quotations omitted). '''Relevant factors' include the 'public interest in
   15    understanding the judicial process and whether disclosure of the material could result in
   16    improper use ofthe material for scandalous or libelous purposes or infringement upon trade
   17 secrets.'" Id. at 659 n.6.
   18           Plaintiff initiated this lawsuit, failed to prosecute the case, and the case was closed.
   19 Plaintiff delayed sixteen years before filing any request for the record to be sealed. The Court
   20    finds that the strong presumption against sealing judicial proceedings outweighs Plaintiffs
   21    privacy interests in sealing the entire record in this case. Accordingly, the motion to seal the
   22    record and ex parte application to file the motion under seal are DENIED. The motion to seal
   23    the record and ex parte application to file the motion under seal shall be filed in the public
   24 record. The entire record in this case shall remain public.
   25           IT IS SO ORDERED.
   26
   27    DATED:/,,~2.-
   28                                               WILLIAM Q. HAYE
                                                    UNITED STATES D

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                                                                             U.S. COURT OF APPEALS




      SCOTT A. MCMILLAN and THE                      No. 17-56676
      MCMILLAN LAW FIRM, APC,
                                                     D.C. No. 3:16-cv-02186-WQH-MDD
                       Plaintiffs - Appellants,
                                                     U.S. District Court for Southern
           v.                                        California, San Diego

      DARREN D. CHAKER, an                           MANDATE
      individual, and as trustee of
      PLATINUM HOLDINGS GROUP
      TRUST, DBA Counter Forensics; et
      al.,

                       Defendants - Appellees.




      SCOTT A. MCMILLAN and THE                      No. 18-55343
      MCMILLAN LAW FIRM, APC,
                                                     D.C. No. 3:16-cv-02186-WQH-MDD
                       Plaintiffs - Appellees,
                                                     U.S. District Court for Southern
           v.                                        California, San Diego

      NICOLE CHAKER, an individual,
      and as trustee of THE NICOLE
      CHAKER REVOCABLE LIVING
      TRUST, U/A dated August 18, 2010,

                       Defendant - Appellant.


                The judgment of this Court, entered January 27, 2020, takes effect this date.



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         This constitutes the formal mandate of this Court issued pursuant to Rule

  41(a) of the Federal Rules of Appellate Procedure.

                                                FOR THE COURT:

                                                MOLLY C. DWYER
                                                CLERK OF COURT

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                                                Ninth Circuit Rule 27-7




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                      UNITED STATES COURT OF APPEALS                        JAN 27 2020
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                                                                         U.S. COURT OF APPEALS
                             FOR THE NINTH CIRCUIT

  SCOTT A. MCMILLAN; THE                          No.    17-56676
  MCMILLAN LAW FIRM, APC,
                                                  D.C. No.
                  Plaintiffs-Appellants,          3:16-cv-02186-WQH-MDD

    v.
                                                  MEMORANDUM*
  DARREN D. CHAKER, DBA Counter
  Forensics, an individual, and as trustee of
  PLATINUM HOLDINGS GROUP TRUST;
  et al.,

                  Defendants-Appellees.


  SCOTT A. MCMILLAN; THE                          No.    18-55343
  MCMILLAN LAW FIRM, APC,
                                                  D.C. No.
                  Plaintiffs-Appellees,           3:16-cv-02186-WQH-MDD

    v.

  NICOLE CHAKER, an individual, and as
  trustee of THE NICOLE CHAKER
  REVOCABLE LIVING TRUST, U/A dated
  August 18, 2010,

                  Defendant-Appellant.

                     Appeal from the United States District Court

         *
               This disposition is not appropriate for publication and is not precedent
  except as provided by Ninth Circuit Rule 36-3.



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                          for the Southern District of California
                        William Q. Hayes, District Judge, Presiding

                          Argued and Submitted January 7, 2020
                                  Pasadena, California

  Before: WATFORD, BENNETT, and LEE, Circuit Judges.

        Plaintiffs Scott McMillan and The McMillan Law Firm appeal the dismissal

  of their Racketeer Influenced and Corrupt Organizations Act (RICO) claims and

  the district court’s decision that Plaintiffs failed to personally serve Vania Chaker.

  Defendant Nicole Chaker cross-appeals the district court’s decision to decline

  supplemental jurisdiction over Plaintiffs’ state law civil extortion claim and to

  deny as moot her anti-SLAPP motion to strike the state law claim and for an award

  of attorneys’ fees.

        We have jurisdiction under 28 U.S.C. § 1291, and we affirm. We review the

  dismissal of Plaintiffs’ RICO claims de novo, construing material facts in the

  complaint as true and in the light most favorable to the nonmoving parties. See

  Howard v. Am. Online Inc., 208 F.3d 741, 746 (9th Cir. 2000). “A district court’s

  refusal to exercise supplemental jurisdiction is reviewed for abuse of discretion.”

  Ove v. Gwinn, 264 F.3d 817, 821 (9th Cir. 2001).

        Plaintiffs’ First Amended Complaint (FAC) alleges a substantive RICO

  violation against Darren Chaker based on the predicate act of extortion and a RICO

  conspiracy violation against all Defendants. To qualify as a predicate act of


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  extortion supporting a violation of 18 U.S.C. § 1962(c), “the conduct must be

  capable of being generically classified as extortionate.” Scheidler v. Nat’l Org. for

  Women, Inc., 537 U.S. 393, 409 (2003). The generic definition of extortionate

  conduct is “obtaining something of value from another with his consent induced by

  the wrongful use of force, fear, or threats.” United Bhd. of Carpenters & Joiners

  of Am. v. Bldg. & Const. Trades Dep’t, AFL-CIO, 770 F.3d 834, 843 (9th Cir.

  2014) (quoting United States v. Nardello, 393 U.S. 286, 290 (1969)).

        Plaintiffs failed to allege extortionate conduct because there are no

  allegations that Darren Chaker obtained property from Plaintiffs that he could

  “exercise, transfer, or sell.” See Scheidler, 537 U.S. at 405. Plaintiffs’ claim also

  fails because there are no allegations to support the “with [Plaintiffs’] consent”

  element. United Bhd. of Carpenters & Joiners of Am., 770 F.3d at 843. Indeed,

  the FAC expressly states that Darren Chaker used Plaintiffs’ names and logo

  without their consent. Thus, the district court properly dismissed the substantive

  RICO violation claim.

        The district court also properly dismissed the conspiracy claim because the

  “failure to adequately plead a substantive violation of RICO precludes a claim for

  conspiracy.” Howard, 208 F.3d at 751. Because we conclude that the RICO

  conspiracy claim was properly dismissed and that was the only claim brought

  against Vania Chaker, we need not decide whether the district court erred by


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  determining that Plaintiffs failed to personally serve Vania Chaker with the FAC.

        As for Nicole Chaker’s cross-appeal, the district court did not abuse its

  discretion by refusing to exercise supplemental jurisdiction over the remaining

  state law claim after properly dismissing the RICO claims. See 28 U.S.C.

  § 1367(c)(3); Ove, 264 F.3d at 826. And without a state law claim, it was proper

  for the district court to decline to address the anti-SLAPP motion. See Hilton v.

  Hallmark Cards, 599 F.3d 894, 901 (9th Cir. 2010) (“[A] federal court can only

  entertain anti-SLAPP special motions to strike in connection with state law claims .

  . . .”). In any case, Nicole Chaker waived the arguments she makes on cross-

  appeal because she failed to raise them below. See Broad v. Sealaska Corp., 85

  F.3d 422, 430 (9th Cir. 1996). Nothing in her motion to dismiss or anti-SLAPP

  motion alerted the district court that it should retain jurisdiction over the state law

  claim and rule on her anti-SLAPP motion should the court dismiss the RICO

  claims.

        The parties shall bear their own costs on appeal.

        AFFIRMED.1




  1
   We DENY Darren Chaker’s Motion to Strike Volume Eight of the Excerpts of
  Record and All References Thereto. Dkt. No. 134.

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 1 SULLIVAN, KRIEGER, TRUONG,
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 3 ekrieger@sullivankrieger.com
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 4 cspagnola@sullivankrieger.com
 5 444 West Ocean Boulevard, Suite 1700
   Long Beach, CA 90802
 6 Telephone: (562) 597-7070
 7 Attorneys for Defendant DARREN D. CHAKER,
   individually, and as trustee of PLATINUM HOLDINGS
 8 GROUP TRUST
 9                        UNITED STATES DISTRICT COURT
10                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
11
   SCOTT A. MCMILLAN, an individual,         )   Case No. 3:16-CV-02186-WQH-MD
12 THE MCMILLAN LAW FIRM, APC, a             )
   California professional corporation,      )   Judge: Hon. William Q. Hayes
13                                           )   Courtroom: 14B
                                             )
14                 Plaintiffs,               )   Magistrate: Hon. Mitchell D. Dembin
                                             )   Courtroom: 11th Floor
15          v.                               )
                                             )   DEFENDANT DARREN D.
16                                           )   CHAKER’S NOTICE OF MOTION
     DARREN D. CHAKER an individual, and )       AND MOTION FOR SANCTIONS
17   as trustee of PLATINUM HOLDINGS         )   PURSUANT TO FED. R. CIV. P. 11
     GROUP TRUST, dba COUNTER                )
18   FORENSICS; NICOLE CHAKER, an            )   Hearing Date: May 1, 2017
     individual, and as trustee of NICOLE    )   Courtroom: 14B
19   CHAKER TRUST ONE, VANIA                 )
     CHAKER, an individual and as trustee of )   Complaint Filed: August 29, 2016
20   VANIA CHAKER TRUST ONE,                 )
                                             )   [PER CHAMBERS, NO ORAL
21                                           )   ARGUMENT UNLESS ORDERED
                   Defendants.               )   BY COURT]
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                   DEFENDANT DARREN D. CHAKER’S NOTICE OF NOTICE OF MOTION
                     AND MOTION FOR SANCTIONS PURSUANT TO FED. R. CIV. P. 11
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 1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2        PLEASE TAKE NOTICE that on May 1, 2017, or as soon as thereafter as the
 3 matter may be heard in courtroom 14B of the United States District Court, Southern
 4 District of California, the Honorable William Q. Hayes presiding, located at 333 West
 5 Broadway, San Diego, CA 92101. Defendant DARREN D. CHAKER an individual,
 6 and as trustee of PLATINUM HOLDINGS GROUP TRUST, dba COUNTER
 7 FORENSICS (“Darren”) will, and hereby does, move for an order, pursuant to Rule 11
 8 of the Federal Rules of Civil Procedure, or, alternatively, the Court’s inherent power,
 9 imposing sanctions on Plaintiffs for the filing of the First Amended Complaint (“FAC”)
10 herein. The grounds for this motion are as follows:
11        (a)   Many of the allegations in the FAC are factually baseless from an objective
12              perspective, and were included in the FAC for an improper purpose;
13        (b)   Plaintiffs’ first and second claims for relief in the FAC, for violations of the
14              Racketeering Influenced and Corrupt Organizations Act (“RICO”), 18
15              U.S.C. §§ 1961(c)-(d), are frivolous; and
16        (c)   Plaintiffs’ RICO claims were brought for the improper purpose of naming
17              Darren’s mother, Nicole Chaker, and sister, Vania Chaker, as Defendants
18              in this lawsuit, solely to harass Darren and his family.
19        This motion is based upon this notice, the accompanying memorandum of points
20 and authorities, declaration of Darren D. Chaker, the pleadings and records on file in
21 this action and upon such other oral or documentary evidence as may be presented at the
22 hearing.
23        Further, pursuant to Fed. R. Civ. P. 11(c)(2), I certify that I served this motion on
24 Plaintiff Scott A. McMillan, an attorney representing himself and The McMillan Law
25 Firm APC, via email and U.S. mail on March 7, 2017, and Plaintiffs’ claims and/or
26 allegations have not been withdrawn or voluntarily dismissed as of the date of filing of
27 this motion, which is more than twenty-one (21) days of service of the motion upon Mr.
28 McMillan.
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                   DEFENDANT DARREN D. CHAKER’S NOTICE OF NOTICE OF MOTION
                     AND MOTION FOR SANCTIONS PURSUANT TO FED. R. CIV. P. 11
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 1
 2 DATED:     March 28, 2017           Respectfully submitted,
 3
                                       SULLIVAN, KRIEGER, TRUONG,
 4                                     SPAGNOLA & KLAUSNER, LLP
 5
 6                                     By:     /s/ Eliot F. Krieger _____________
                                               Eliot F. Krieger, SBN 159647
 7                                             ekrieger@sullivankrieger.com
                                               Charles T. Spagnola, P.C., SBN 144983
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10                                             Telephone: (562) 597-7070
11                                     Attorneys for Defendant Darren Chaker
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 1                              CERTIFICATE OF SERVICE
 2        I, Adam M. Tamburelli, an attorney, certify that on the 28 day of March, 2017, I
 3 filed the foregoing motion, along with a supporting memorandum and Declaration of
 4 Darren D. Chaker, with the Clerk of the Court for the United States District Court,
 5 Southern District of California by using the Court’s CM/ECF system, which will send
 6 notifications of such filing to all counsel of record.
 7
                                   _/s/ Adam M. Tamburelli__________
 8                                    Adam M. Tamburelli
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    2 ELLROD, RAMIREZ, TRESTER
                        th
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    3 Los Angeles, California 90017-3012
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      TRUST
    7
    8                             UNITED STATES DISTRICT COURT
    9                         SOUTHERN DISTRICT OF CALIFORNIA
   10
   11 SCOTT A. MCMILLAN, an individual,                            Case No. #:16-CV-02186-WQH-MD
      THE MCMILLAN LAW FIRM, APC,
   12 a California professional corporation, ,                     REQUEST FOR RULING ON
                                                                   DEFENDANT DARREN D.
   13                 Plaintiffs,                                  CHAKER’S OBJECTION TO
                                                                   PLAINTIFF’S CLAIM OF
   14         v.                                                   RELATED CASES
   15 DARREN D. CHAKER an individual,                              The Hon. Hon. William Q. Hayes
      and as trustee of PLATINUM
   16 HOLDINGS GROUP TRUST, dba
      COUNTER FORENSICS; NICOLE
   17 CHAKER, an individual, and as trustee
      of NICOLE CHAKER TRUST ONE,
   18 VANIA CHAKER, an individual and as
      trustee of VANIA CHAKER TRUST
   19 ONE
   20                 Defendants.
   21
   22        Defendant Darren D. Chaker submits this Request for Ruling on Objection to
   23 Plaintiffs' Claim of Related Cases ("Request") (Doc. No. 82). The objection was made
   24 on the grounds that Plaintiff incorrectly deemed the above-captioned case as "related"
   25 to a previously filed proceeding captioned United States v. Chaker, Case Number 3:15-
   26 CR-07012-LAB. The Court has not ruled on this objection and the case was
   27 subsequently terminated on October 10, 2017 after judgement was entered which
   28 judgment Plaintiff has appealed. Notwithstanding that the action is currently on appeal

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    1 to the United States Ninth Circuit Court of Appeals, Defendant renews his Request to
    2 ensure that if and when the case is remanded to the Southern District of California that
    3 it does not become related to the previously filed case just because Plaintiffs checked a
    4 box on the civil cover sheet.
    5 DATED: March 6, 2018                             MANNING & KASS
                                                       ELLROD, RAMIREZ, TRESTER LLP
    6
    7
    8                                                  By:         /S/John Hochhausler
    9                                                        John Hochhausler
                                                             Attorneys for Defendant DARREN D.
   10
                                                             CHAKER, individually, and as trustee of
   11                                                        PLATINUM HOLDINGS GROUP
   12                                                        TRUST

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      TRUST
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    8                        UNITED STATES DISTRICT COURT
    9                     SOUTHERN DISTRICT OF CALIFORNIA
   10
   11 SCOTT A. MCMILLAN, an individual,             Case No. #:16-CV-02186-WQH-MD
      THE MCMILLAN LAW FIRM, APC,
   12 a California professional corporation, ,      CERTIFICATE OF SERVICE
   13               Plaintiffs,                     The Hon. Hon. William Q. Hayes
   14         v.
   15 DARREN D. CHAKER an individual,
      and as trustee of PLATINUM
   16 HOLDINGS GROUP TRUST, dba
      COUNTER FORENSICS; NICOLE
   17 CHAKER, an individual, and as trustee
      of NICOLE CHAKER TRUST ONE,
   18 VANIA CHAKER, an individual and as
      trustee of VANIA CHAKER TRUST
   19 ONE
   20               Defendants.
   21
   22         I, John Hochhausler, declare:
   23         I am a citizen of the United States and am employed in the County of Los
   24 Angeles, State of California. I am over the age of 18 years and not a party to the above-
   25 entitled action. I am an employee of Manning & Kass, Ellrod, Ramirez, Trester, LLP,
   26 801 S. Figueroa Street, Suite 1500, Los Angeles, CA 90017. On March 1, 2018, I
   27 served a copy of REQUEST FOR RULING ON DEFENDANT DARREN D.
   28 CHAKER’S OBJECTION TO PLAINTIFF’S CLAIM OF RELATED CASES via
                                  1           Case No. #:16-CV-02186-WQH-MD
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    1 electronic transmission on all counsel of record.
    2        I am familiar with the United States District Court Southern District of
    3 California's practice for collecting and processing electronic filings. Under that
    4 practice, documents are electronically filed with the court. The court's CM/ECF system
    5 will generate a Notice of Electronica Filing (NEF) to the filing party, the assigned
    6 judge, and any registered users in the case. The NEF will constitute service of the
    7 document. Registration as a CM/ECF user constitutes consent to electronic service
    8 through the court's transmission facilities. Under said practice, the following CM/ECF
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                                          2           Case No. #:16-CV-02186-WQH-MD
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              I declare under penalty of perjury under the laws of the United States of America
    7
        that the foregoing is true and correct.
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    9 DATED: March 6, 2018                    MANNING & KASS
   10                                         ELLROD, RAMIREZ, TRESTER LLP
   11
   12
                                              By:         /s/ John Hochhausler
   13                                               John Hochhausler
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   15                                               PLATINUM HOLDINGS GROUP
   16                                               TRUST
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11              FOR THE SOUTHERN DISTRICT OF CALIFORNIA
12
     SCOTT A. MCMILLAN, an individual,       )   Case No. 3:16-CV-02186-WQH-MD
13   THE MCMILLAN LAW FIRM, APC, a           )
14
     California professional corporation,    )   Judge: Hon. William Q. Hayes
                                             )   Magistrate: Hon. Mitchell D. Dembin
15                 Plaintiffs,               )
                                             )   MEMORANDUM OF POINTS
16          v.                               )   AND AUTHORITIES IN
                                             )   SUPPORT OF DEFENDANT
17   DARREN D. CHAKER an individual, and )       DARREN D. CHAKER’S
     as trustee of PLATINUM HOLDINGS         )   MOTION FOR SANCTIONS
18   GROUP TRUST, dba COUNTER                )   PURSUANT TO FED. R. CIV. P.
     FORENSICS; NICOLE CHAKER, an            )   11
19   individual, and as trustee of NICOLE    )
     CHAKER TRUST ONE, VANIA                 )   Hearing Date: May 1, 2017
20   CHAKER, an individual and as trustee of )   Courtroom: 14B
     VANIA CHAKER TRUST ONE,                 )
21                                           )
                   Defendants.               )   Complaint Filed: August 29, 2016
22                                           )
                                             )   [PER CHAMBERS ORDER, NO
23                                           )   ORAL ARGUMENT UNLESS
24                                           )   ORDERED BY COURT]
                                             )
25                                           )
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                             DEFENDANT DARREN D. CHAKER’S
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 1   I.    INTRODUCTION.
 2         The primary purpose of Rule 11 of the Federal Rules of Civil Procedure is to
 3   deter frivolous litigation, and this case is emblematic of the wrongs Rule 11 is
 4   designed to address. Indeed, the deterrence value of Rule 11 is particularly
 5   important in cases such as this, which allege violations of the Racketeering
 6   Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. §§ 1961-1968,
 7
     because the “mere assertion of a RICO claim . . . has an almost inevitable
 8
     stigmatizing effect on those named as defendants, [so] courts should strive to flush
 9
     out frivolous RICO allegations at an early stage of the litigation.” Figueroa Ruiz v.
10
     Alegria, 896 F.2d 645, 650 (1st Cir. 1990).
11
           This is a lawsuit brought by a self-represented attorney, Scott A. McMillan
12
     (“McMillan”), and his law firm, The McMillan Law Firm, APC (collectively,
13
     “Plaintiffs”). A cursory examination of the allegations in the First Amended
14
     Complaint (“FAC”) reveals that it is a sensationalist document, unburdened by any
15
     assertion of plausible legal theories arising out of the facts alleged, created and
16
     filed with the sole intent to put salacious allegations against Defendant Darren D.
17
     Chaker (“Darren”) into the public record. More specifically, this lawsuit is
18
     McMillan’s way of publicly airing his personal grievances with and deep-seated
19
     antipathy toward Darren through use of the judicial system.
20
21
           Even though Plaintiffs’ alleged injuries flow almost exclusively from

22   Defendants’ alleged publication of information about McMillan on the internet,

23   and McMillan repeatedly alleges that Darren defamed him in the FAC, McMillan
24   does not assert any defamation-type tort. Instead, he asserts three “Claims for
25   Relief”: the first two are for violations of RICO, 18 U.S.C. § 1962(c)-(d), and the
26   third is for civil extortion pursuant to California Penal Code § 518.
27         However, McMillan does not and cannot state a RICO conspiracy or
28   extortion claim, and for good reason: this is not a RICO case. Plaintiffs are
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                               DEFENDANT DARREN CHAKER’S
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 1   improperly attempting to transform a garden variety defamation case into a RICO
 2   conspiracy case in order to bring claims against Darren’s sister and mother, co-
 3   Defendants Vania Chaker (“Vania”) and Nicole Chaker (“Nicole”). Instead,
 4   McMillan alleges extortion as the racketeering act underlying the RICO claims
 5   instead of defamation, because defamation is not a recognized predicate act under
 6   RICO. Curtis & Assocs., P.C. v. Law Offices of David M. Bushman, Esq., 758
 7
     F.Supp.2d 153, 157 (E.D.N.Y. 2010).
 8
            McMillan makes his true intent in filing this case clear by, inter alia,
 9
     proffering spurious and outright false allegations in the FAC entirely unrelated to
10
     the alleged claims. Many of allegations are disingenuously pleaded “on
11
     information and belief,” and many concern fictional misconduct that occurred up
12
     to seven years before McMillan and Darren met.
13
            Darren now seeks sanctions against McMillan for his inclusion of multiple
14
     factual contentions that lack any evidentiary support and that could not have been
15
     the product of a reasonable investigation in the FAC, as well as McMillan’s
16
     disingenuous use of the RICO statute for the purpose of wrangling Darren’s sister
17
     and mother into the case as alleged co-conspirators despite almost no involvement
18
     on their part at all.
19
            McMillan is an officer of the Court, which makes his misuse of the judicial
20
21
     system for the purposes of exacting revenge particularly problematic. He knows,

22   or should know, the requirements imposed by Rule 11, and should be above

23   wasting judicial resources and damaging the integrity of the judicial system along
24   the way to pursue a vendetta. Thus, McMillan’s violation of Rule 11 warrants
25   dismissal of the FAC with prejudice, but a minimum, the Court should strike from
26   the FAC the unsupported allegations addressed below. Additionally, the Court
27   should order Plaintiffs to reimburse Darren for his attorney’s fees and costs
28   incurred in making this motion.
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                                 DEFENDANT DARREN CHAKER’S
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 1            Darren does not make these requests lightly. But here, only Rule 11 can
 2   remedy the problems created by McMillan’s disregard for the truth and deter such
 3   misconduct in the future.
 4   II.      SUMMARY OF THE ALLEGATIONS.
 5            The haphazard nature and structure of the FAC evinces the lack of validity
 6   of the claims therein. The FAC is a “shotgun-style” pleading, over 300 pages long
 7
     with exhibits, that casts a litany of accusations against the wall with the hope that
 8
     something sticks.1 Additionally, Plaintiffs have attached voluminous exhibits to
 9
     the FAC, bizarrely labeled in separate groups as 1-4, and from A-GG, with some
10
     of the intermediate numbers and letters absent.
11
              Briefly, McMillan alleges that Darren, together with his sister Vania and
12
     mother Nicole (FAC ¶¶8-9), allegedly engaged in a RICO conspiracy as the sole
13
     members of the RICO “enterprise.” (FAC ¶87). McMillan describes the alleged
14
     purpose of this “Enterprise” as follows:
15
              “The common purpose of the Enterprise members was to assist each other
16
              in the filing of false and meritless lawsuits under federal debt collection
17
              statutes; assist each other in the filing of lawsuits against attorneys who
18
19
20   1
         “Shotgun-style” complaints typically include a long list of general allegations
21   (most of which are immaterial to the claims for relief) incorporated by reference
22   into each claim for relief. These complaints impose severe burdens upon the Court.
23   See Davis v. Coca-Cola Bottling Co. Consol., 516 F.3d 955, 981-982 (11th Cir.
24   2008) (shotgun pleadings inexorably broaden the scope of discovery and lessen the
25   time and resources the Court has available to reach and dispose of its cases, among
26   other problems).
27
28
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                                  DEFENDANT DARREN CHAKER’S
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 1         opposed them [], and to conduct a campaign of harassment, defamation, and
 2         extortion against attorneys, such as the Plaintiffs, who represented parties
 3         adverse to the interests of the Enterprise members []. Enterprise members
 4         also assisted each other in committing vandalism against Plaintiff’s
 5         property.
 6   (FAC ¶91).
 7
           McMillan alleges that the purported enterprise allegedly engaged in an
 8
     extremely broad range of racketeering acts that included a conspiracy to commit
 9
     extortion. (See FAC ¶¶87-93). There are ten separate “Racketeering Acts” alleged.
10
     (FAC ¶¶99-110). McMillan ultimately alleges that as a result of Defendants’
11
     conduct, or, more specifically, Darren’s allegedly defamatory statements, Plaintiffs
12
     suffered reputational injuries or injuries flowing exclusively from reputational
13
     injuries. (See FAC ¶80, [damages are lost time developing McMillan’s reputation];
14
     ¶¶99-109 [“intangible property right to practice law free of threats in accordance
15
     with the California Rules of Professional Conduct”]).
16
           Many of McMillan’s material allegations in the FAC are alleged under some
17
     form of “information and belief” (See FAC, Dkt. No. 25, ¶¶10-12, 17-20, 27-29, 32,
18
     37, 39, 40, 42, 63-64, 74), or with no allegation as to how any of the Defendants are
19
     connected to the conduct at issue. (FAC ¶¶55-60, 79). Many of the allegations fail
20
21
     to state the specific date on which the conduct occurred. (FAC ¶¶10-11, 13-14, 16-

22   22, 25-26, 29, 32, 33, 35-38, 45, 62). Additionally, most of the alleged misconduct

23   did not involve Plaintiffs in any way and/or occurred long before McMillan met
24   Darren. (FAC ¶¶3, 10-12, 14-24, 26-28, 40(e)).
25         As an example of the nature of McMillan’s allegations in the FAC and the
26   basis for this motion, McMillan alleges that Darren engaged in “sex trafficking”
27   and witness tampering, which is not only false, but the alleged acts have no
28   connection to Plaintiffs. (FAC¶¶ 21, 25-28). McMillan further alleges that Darren
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                                DEFENDANT DARREN CHAKER’S
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 1   has posted false and defamatory matters about Plaintiffs on the internet based on
 2   “inform[ation] and belie[f],” but there is nothing in the FAC tying Darren to the
 3   posts. (FAC ¶¶37, 48, 48, 55-69). Additionally, McMillan lists lawsuits filed by
 4   Darren and Vania against third-parties, even though Plaintiffs were not involved in
 5   those cases in any respect, and most of the lawsuits were filed 3-7 years before
 6   McMillan met Darren in 2010. (FAC ¶¶10-11, 14-20, 31).
 7
            McMillan has already had an opportunity to amend his original complaint
 8
     after the defects therein were highlighted in Darren’s prior motion to dismiss
 9
     pursuant to Fed. R. Civ. P. 12(b)(6) and special motion to strike pursuant to Cal.
10
     Code Civ. Proc. § 425.16 (Dkt. Nos. 14, 16). However, he failed to cure those
11
     defects, further demonstrating the baseless nature of McMillan’s claims against
12
     Defendants herein.
13
     III.   LEGAL STANDARD.
14
            Rule 11 permits a court to impose sanctions on an attorney when he or she
15
     has signed and submitted to the court a pleading that is not, to the attorney’s
16
     knowledge, information and belief after reasonable inquiry, presented for a proper
17
     purpose, warranted by existing law or by a non-frivolous argument for altering the
18
     law, or supported or likely to be supported with evidence. Fed. R. Civ. P. 11.
19
     Awarding sanctions under Rule 11 “raises two competing concerns: the desire to
20
21
     avoid abusive use of the judicial process and to avoid chilling zealous advocacy.”

22   Hudson v. Moore Business Forms, Inc., 836 F.2d 1156, 1159-60 (9th Cir. 1987).

23          Where a complaint is the primary focus of a Rule 11 motion, a court must
24   determine that 1) the complaint is legally or factually baseless from an objective
25   perspective and 2) the attorney has not conducted a reasonable and competent
26   inquiry before signing and filing it. Holgate v. Baldwin, 425 F.3d 671, 676 (9th Cir.
27   2005); In re Keegan Mgmt. Co., Sec. Litig., 78 F.3d 431, 434 (9th Cir. 1996). The
28   standard is objective, examined at the time of signing. W. Coast Theater Corp. v.
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 1   City of Portland, 897 F.2d 1519, 1526 (9th Cir. 1990). “The reasonable inquiry test
 2   is meant to assist courts in discovering whether an attorney, after conducting an
 3   objectively reasonable inquiry into the facts and law, would have found the
 4   complaint to be well-founded.” Holgate, 425 F.3d at 677. Sanctions are mandatory
 5   under Rule 11 where an attorney fails to make reasonable efforts to determine that
 6   his or her pleading is well grounded in fact. See Westmoreland v. CBS, Inc., 770
 7
     F.2d 1168, 1177 (D.C. Cir. 1985); Sony Corp. v. S.W.I. Trading, Inc., 104 F.R.D.
 8
     535 (S.D.N.Y. 1985).
 9
           Sanctions are also appropriate where a pleading is filed for an improper
10
     purpose. Fed. R. Civ. P. 11(b)(1). An improper purpose may be inferred from the
11
     filing of frivolous papers. See In re Kunstler, 914 F.2d 505, 518 (4th Cir. 1990).
12
           Notably, sanctions may be appropriate under Rule 11 or the court’s inherent
13
     authority. A court has the inherent power to sanction a party for bad faith conduct
14
     related to initiating and conducting litigation. See Chambers v. NASCO, Inc., 501
15
     U.S. 32, 45-46 (1991); Fink v. Gomez, 239 F.3d 989, 992 (9th Cir. 2001). The
16
     Supreme Court has held that courts “ordinarily should rely on the Rules rather than
17
     the inherent power,” but that “if in the informed discretion of the court, neither the
18
     statute nor the Rules are up to the task, the court may safely rely on its inherent
19
     power.” Chambers, 501 U.S. at 50.
20
21
           Finally, Courts should not give extra latitude to McMillan simply because he

22   represents himself in this case. See Collie v. Kendall, No. 3:98-CV-1678-G, 1999

23   U.S. Dist. LEXIS 10435, at *12 (N.D. Tex. July 6, 1999) (attorney proceeding pro
24   se should be held to the more demanding standards applicable to attorneys);
25   Segarra v. Messina, 153 F.R.D. 22, 30 (N.D.N.Y. 1994) (attorney proceeding pro
26   se treated same as other attorneys because to do otherwise would be contrary to
27   reason for special protection of pro se litigants).
28   //
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                                DEFENDANT DARREN CHAKER’S
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 1   IV.   ARGUMENT.
 2         “Filing a complaint in federal court is no trifling undertaking. An attorney’s
 3   signature on a complaint is tantamount to a warranty that the complaint is well
 4   grounded in fact.” In re Connetics Corp. Sec. Litig., 542 F.Supp.2d 996, 1004
 5   (N.D. Cal. 2008) (internal citation omitted). As specifically relevant here, the
 6   signature operates as a certification that, based on “an inquiry reasonable under the
 7
     circumstances,” the “factual contentions have evidentiary support or, if specifically
 8
     so identified, will likely have evidentiary support after a reasonable opportunity for
 9
     further investigation or discovery.” Fed. R. Civ. P. 11(b); accord Bus. Guides, Inc.
10
     v. Chromatic Commc’n Enters., Inc., 498 U.S. 533, 542 (1991) (the “heart of Rule
11
     11” is the message conveyed by the signer’s certification that he “has conducted a
12
     reasonable inquiry into the facts and the law and is satisfied that the document is
13
     well grounded in both”).
14
           A plaintiff cannot include baseless allegations in a complaint with the hope
15
     of relying on future discovery to support them; “such fishing expeditions are not
16
     permissible under federal [] rules.” Kaplan v. California Pub. Emps. Ret. Sys., No.
17
     C 98-1246, 1998 U.S. Dist. LEXIS 14040, at *19-20 (N.D. Cal. Sept. 3, 1998);
18
     accord Timmons v. Linvatec Corp., 263 F.R.D. 582, 585 (C.D. Cal. 2010)
19
     (“[A]llowing plaintiffs to file first and investigate later . . . would be contrary to
20
21
     Rule 11(b), which mandates ‘an inquiry reasonable under the circumstances’ into

22   the evidentiary support for all factual contentions prior to filing a pleading.”).

23         Especially relevant here, McMillan’s repeated reliance on alleging
24   “information and belief” as a basis to save his allegations is specifically prohibited
25   by Rule 11, as the Advisory Committee has explained:
26         Tolerance of factual contentions in initial pleadings by plaintiffs or
27         defendants when specifically identified as made on information and belief
28         does not relieve litigants from the obligation to conduct an appropriate
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 1         investigation into the facts that is reasonable under the circumstances; it is
 2         not a license to join parties, make claims, or present defenses without any
 3         factual basis or justification.
 4   Fed. R. Civ. P. 11 (1993 Advisory Committee Notes); see, e.g., Chagby v. Target
 5   Corp., No. CV 08-4425, 2008 U.S. Dist. LEXIS 107738, at *10 n.2 (C.D. Cal. Oct.
 6   27, 2008) (Rule 11(b)(3) “does not permit [p]laintiff to allege claims in the absence
 7
     of any facts, simply because [p]laintiff speculates that those facts will eventually
 8
     be discovered.”); Elan Microelectronics Corp. v. Apple, Inc., No. C 09-01531,
 9
     2009 U.S. Dist. LEXIS 83715, at *11 (N.D. Cal. Sept. 14, 2009) (A plaintiff
10
     violates “Rule 11(b)(3) when there are no factual circumstances known to it that
11
     would constitute a ‘good reason to believe’ a claim exists . . . [s]imply guessing or
12
     speculating that there may be a claim is not enough.”).
13
           A significant number of the allegations in the FAC do not meet these
14
     standards. As demonstrated below, those allegations are objectively baseless, and
15
     McMillan fails to provide any support for them in the FAC. They are also belied by
16
     information in the public record that McMillan ignores. No reasonable
17
     investigation could have supported such contentions. Plaintiffs’ violations of Rule
18
     11(b)(3) warrant meaningful sanctions.
19
           Moreover, McMillan’s purpose for filing this action as a RICO case, and
20
21
     bringing a claim for a RICO conspiracy, was for an improper purpose, to wit: to

22   inflict as much harm on Darren and his family as possible. As such, the frivolous

23   nature of claims and the improper purpose for which they were brought provide a
24   separate basis for sanctioning Plaintiffs.
25   //
26   //
27   //
28   //
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 1         A.     McMillan Violated Rule 11 In Filing the FAC.
 2                1.     McMillan’s Baseless and Prejudicial Allegations Violate
 3                       Rule 11.
 4         Rule 11 sanctions may be imposed where the factual contentions have no
 5   evidentiary support or are knowingly false. Fed. R. Civ. P. 11(b)(3). Under certain
 6   circumstances, an isolated factual misrepresentation may serve as the basis for
 7
     them. See, e.g., Precision Specialty Metals, Inc. v. United States, 315 F.3d 1346,
 8
     1357 (Fed. Cir. 2003); Mercury Serv. v. Allied Bank, 117 F.R.D. 147 (C.D. Cal.
 9
     1987) aff’d, 907 F2d 154 (9th Cir. 1990) (sanctions are appropriate where
10
     declaration filed by defendants contained at least one false statement and several
11
     other misleading statements, thereby causing plaintiffs unnecessary work and
12
     showing disrespect for the Court).
13
           Below are some of the many instances where McMillan has alleged
14
     purported facts against Darren and the other Defendants that are knowingly false
15
     or have no evidentiary support. Worse, most of these allegations are entirely
16
     unrelated to the claims in this case.
17
                         a.     Allegations Regarding “Sex Trafficking.”
18
           McMillan includes a “SEX TRAFFICKING” heading in bold, capital letters
19
     before paragraphs 21-22. Then, in paragraph 21, McMillan falsely alleges that
20
21
     Darren engaged in “human trafficking” within the last 10 years, and worse, makes

22   this outrageous allegation “on information and belief.” (See Declaration of Darren

23   Chaker, ¶2). Not only is this allegation false, but it is: (a) not referenced anywhere
24   else in the FAC; (b) not included in or related to the “enterprise” as he defines it in
25   paragraphs 87-93; and (c) not included in or related to any “racketeering acts of
26   extortion” set forth in paragraphs 99-114.
27         In case there is any doubt as to the scandalous purpose for these allegations,
28   McMillan’s defamatory intent is amplified by the fact that neither paragraph 21 nor
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                                DEFENDANT DARREN CHAKER’S
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 1   22 references “sex” trafficking, and thus the heading was intentionally misleading
 2   as to the nature of the allegations (which were false to begin with). See Truesdell v.
 3   S. Cal. Permanente Med. Grp., 293 F.3d 1146, 1153 (9th Cir. 2002) (“factually
 4   misleading” allegations in a complaint are sanctionable).
 5                       b.       Allegations Regarding “Victims” Franz.
 6         Similar to the allegations in paragraph 27 above, the allegations in
 7
     paragraph 28 describe a purported interaction between Darren and individuals
 8
     cleverly described as “Victims Franz.” This alleged interaction, which took place
 9
     in approximately 2010, did not involve Plaintiffs in any way, and the salacious
10
     allegations therein are largely based on hearsay, and, of course, are alleged on
11
     “information and belief.” Moreover, most of the allegations therein are false. (See
12
     Declaration of Darren Chaker, ¶¶2-4).
13
           Subsection b highlights the sensationalist nature of the allegations. Therein,
14
     McMillan spins an implausible tale under the guise of a second layer of
15
     “information and belief,” of how “Victims Franz” “believed” that Darren engaged
16
     in acts of vandalism against them. This hearsay-upon-hearsay story is not backed
17
18
     up by any allegation that it was reported to law enforcement or that any legal

19   action was taken. More importantly, McMillan concedes that, even if true, this

20   subparagraph is not relevant to the case at bar by alleging that it took place “prior
21   to the extortion attempt.”
22         Additionally, in subsection c, McMillan proffers allegations regarding
23   financial fraud against Mr. and Ms. Franz, which, unbelievably, twice states that
24   the Franz’s “have no evidence” that Darren was the perpetrator. In other words,
25   McMillan alleges, upon his own “information and belief,” that in 2010 Mr. and
26   Ms. Franz “believed” that Darren committed financial fraud, but neither have any
27   evidence, and no civil or criminal action was pursued. The absurdity of such an
28
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 1   allegation—made by an attorney, no less—is proof of its completely scandalous
 2   nature. McMillan cannot possibly have any credible basis for thinking that these
 3   allegations “will likely have evidentiary support after a reasonable opportunity for
 4   further investigation or discovery.” Fed. R. Civ. P. 11(b)(3).
 5
           Finally, all of the allegations that Darren engaged in any of the misconduct
 6
     described in paragraph 28 as a form of extortion are conclusory, haphazardly strewn
 7
     throughout the subparagraphs as if inserted as an afterthought. Especially as it
 8
     pertains to subparagraphs a-c, McMillan does not describe the object of the
 9
     extortion as anything other than “to send a message.”
10
           The allegations in paragraph 28 are so irrelevant and sensationalist that any
11
     argument that they were not included to cast a derogatory light on Darren can be
12
     immediately discarded. The allegations are factually baseless, in violation of Rule
13
     11.
14
                         c.    Allegations Regarding “Victim” Zaya.
15
           This paragraph, comprising over two pages and falling within McMillan’s
16
     pattern of pleading on “information and belief,” is littered with salacious and
17
     exaggerated allegations regarding interactions between Darren and his ex-
18
19
     girlfriend, an individual described as “Victim” Zaya. This series of events allegedly

20   took place from 2002-2007, which means it ended over three years before

21   McMillan first interacted with Darren and approximately ten years ago, and is
22   based almost exclusively on hearsay.
23         McMillan does not allege (nor could he) that he had any involvement with
24   the issues alleged in this paragraph as a party, witness, counsel, or otherwise.
25   Further, the paragraph contains no allegations of extortion or allegations related to
26   the alleged enterprise. Instead, the paragraph contains a lengthy discussion about
27   guns, sexual exploitation, restraining orders, information about lawsuits (without
28   requesting the Court to take judicial notice thereof), and other irrelevant allegations
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                               DEFENDANT DARREN CHAKER’S
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 1   impugning Darren. Indeed, subparagraph d includes a description comprising
 2   approximately a third of a page of a separate criminal proceeding that took place in
 3   2002 regarding Darren’s alleged possession of an assault weapon, which has no
 4   possible connection with the instant case.
 5          Although McMillan will likely argue that the allegations are relevant to how
 6   he met Darren in the first place (over three years after the last incident alleged), that
 7
     argument carries no weight. In paragraph 31 of the FAC, McMillan describes Ms.
 8
     Zaya’s case as the basis for meeting Darren, and that paragraph alone contains
 9
     sufficient information and allegations regarding the history of the case without the
10
     above false and irrelevant facts. It recites a summary of the relevant factual
11
     allegations, which is all that is necessary for the purposes of his claims.
12
                         d.     Plaintiffs Inappropriately Include References to
13
                                Platinum Holdings Group Trust dba Counter
14
                                Forensics in the FAC.
15
            Darren is named as a Defendant both in his individual capacity and as trustee
16
     of Platinum Holdings Group Trust, dba Counter Forensics, based on the sole
17
     allegation that “Defendant DARREN conducts business through and holds assets
18
     as trustee” in that trust. (FAC ¶7). That is the only allegation in the entire FAC
19
     regarding that trust or its involvement in this case, or regarding Darren acting as a
20
21
     trustee.

22          Similarly, the allegations in paragraph 12, which extends over a full page in

23   the FAC and is again made upon “information and belief,” concern Darren’s
24   alleged operation of a web site called “Counter Forensics,” which is named as a
25   “dba” of Platinum Holdings Group Trust. However, McMillan: (a) makes no
26   reference to how this is wrongful; (b) does not reference either this paragraph or
27   “Counter Forensics” in any “Claim for Relief” or other allegation of misconduct;
28   and (c) does not otherwise tie it to any element of the causes of action.
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                                DEFENDANT DARREN CHAKER’S
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 1         It is evident that McMillan included a reference to the trust and “Counter
 2   Forensics” simply to tar their names by associating them with the scandalous
 3   allegations in the FAC. Indeed, there is no basis in fact for McMillan including
 4   these allegations in the FAC, and McMillan does not even attempt to articulate a
 5   basis for including these claims. As such, Plaintiffs should be sanctioned for this
 6   misconduct, as these allegations were made for an improper purpose.
 7
                  2.     Plaintiffs’ RICO Claims Are Frivolous and Were Made for
 8
                         An Improper Purpose.
 9
           As a basis for McMillan’s allegations regarding the “enterprise”
10
     requirement under RICO, as well as his claim for RICO conspiracy, McMillan
11
     alleges that Darren, Nicole, and Vania all collaborated in the misconduct alleged.
12
     However, the FAC contains very few allegations regarding Vania, and even fewer
13
     regarding Nicole. Even accepting McMillan’s allegations as true, their alleged
14
     involvement in the case is incidental at best, and their actions are only tenuously
15
     connected to the alleged “enterprise” or damages in this case. Therefore,
16
     Plaintiffs’ RICO claims are frivolous.
17
           However, even if the Court finds that Plaintiffs’ RICO claims are well
18
     grounded in fact and law at this stage, the Court can easily conclude that
19
     McMillan’s brought this case as a RICO action for the improper purpose of
20
21
     inflicting as much damage on Darren as possible by bringing his family into the

22   case based on flimsy allegations. Therefore, Rule 11 sanctions are appropriate on

23   this basis as well, because filing of pleading for improper purpose is not
24   immunized from Rule 11 sanctions just because it is well-grounded in fact and law.
25   In re Flinn, 139 F.R.D. 698 (S.D. Fla. 1991), aff'd, 22 F.3d 1097 (11th Cir. 1994);
26   see also Holgate, 425 F.3d at 677 (The existence of a non-frivolous claim in a
27   complaint does not immunize it from Rule 11 sanctions).
28
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                                DEFENDANT DARREN CHAKER’S
                       MEMORANDUM IN SUPPORT OF HIS MOTION FOR SANCTIONS



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 1         The analysis of whether a claim is frivolous and/or made for an improper
 2   purpose is intertwined, as Courts have inferred an intent to harass where the claim
 3   is patently frivolous and the situation indicates the filing party has some motive to
 4   harass. For example, the Ninth Circuit has noted that the “frivolous and improper
 5   purpose prongs of Rule 11 overlap, and ‘evidence bearing on frivolousness . . . will
 6   often be highly probative of purpose’.” In re Grantham Bros., 922 F.2d 1438, 1443
 7
     (9th Cir. 1991) (quoting Townsend v. Holman Consulting Corp., 914 F.2d 1136,
 8
     1140 (9th Cir. 1990), aff’d in part and rev’d in part, en banc, 929 F.2d 1358 (9th
 9
     Cir. 1991)).
10
                               a. Plaintiffs’ Allegations Regarding the “Enterprise”
11
                                  and “Conspiracy” Are Frivolous.
12
           It is illuminating to examine McMillan’s specific allegations regarding the
13
     “enterprise” and “conspiracy,” because those allegations reveal the frivolous nature
14
     of Plaintiffs’ RICO claims. The “conspiracy” allegations are essentially derivative
15
     of the “enterprise” allegations (see FAC ¶¶116-117), so discussion of the
16
     “enterprise” allegations informs the entire analysis.
17
           First, the beginning acts of this alleged enterprise occurred in approximately
18
     2003, or seven years before Darren and McMillan first met. (See FAC ¶13, citing a
19
     case filed in 2003). Yet, McMillan alleges that “the members of the Enterprise have
20
21
     functioned together as a continuing unit with a common purpose to obtain the

22   Plaintiffs’ property under fear.” (FAC ¶88). In other words, McMillan alleges that

23   seven years before any Defendant met him, they formed an enterprise with a
24   purpose of obtaining Plaintiffs’ property.
25         That is closely related to another fatal defect in Plaintiffs’ RICO claims.
26   McMillan never describes exactly what property Defendants sought or obtained
27
28
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                               DEFENDANT DARREN CHAKER’S
                      MEMORANDUM IN SUPPORT OF HIS MOTION FOR SANCTIONS



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 1   from Plaintiffs. There are no allegations that Nicole or Vania obtained any property
 2   from McMillan, or that they demanded any property.2 In fact, all of the claims of
 3   RICO damages in the FAC are damage to Plaintiffs’ reputational or intangible
 4   interests. (See FAC ¶ 80, 99-109). Not only are those damages not in furtherance of
 5   the purported purpose of the “enterprise,” or damages that Defendants could
 6   “obtain” from Plaintiffs, they are not cognizable damages under RICO.3
 7
              Curiously, the “common purpose” of the “enterprise” was stated differently
 8
     only three paragraphs later in the FAC, in which McMillan alleged:
 9
              “The common purpose of the Enterprise members was to assist each other in
10
              the filing of false and meritless lawsuits under federal debt collection
11
              statutes; assist each other in the filing of lawsuits against attorneys who
12
              opposed them [], and to conduct a campaign of harassment, defamation, and
13
              extortion against attorneys, such as the Plaintiffs, who represented parties
14
              adverse to the interests of the Enterprise members []. Enterprise members
15
              also assisted each other in committing vandalism against Plaintiff’s property.
16
     (FAC ¶88).
17
              On its face, this description of the common purpose of the “enterprise” is so
18
     overly broad that the only logical conclusion is that McMillan designed it to
19
     encompass any acts alleged in the FAC. Indeed, the first and second stated
20
21
     purposes of the “enterprise” were to file false and meritless lawsuits under federal

22
23   2
         The only allegations of any racketeering income or proceeds are buried in
24   paragraph 23, and Darren is the only alleged beneficiary or recipient thereof.
25   3
         See, e.g., Chaset v. Fleer/Skybox Int’l, LP, 300 F.3d 1083, 1087 (9th Cir. 2002).
26   This point is argued more fully in Darren’s Motion to Dismiss Plaintiffs’ FAC
27   pursuant to Fed. R. Civ. P. 12(b)(6), Docket No. 56-1.
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                                  DEFENDANT DARREN CHAKER’S
                         MEMORANDUM IN SUPPORT OF HIS MOTION FOR SANCTIONS



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 1   debt collection statutes and to assist each other in filing lawsuits against attorneys.
 2   However, none of the allegations in the FAC that relate to Plaintiffs or their clients
 3   arise out of either of these actions. Rather, the main interactions between Plaintiffs
 4   and Defendants were (1) Darren contacting McMillan regarding posts on
 5   McMillan’s website (FAC ¶31); and (2) McMillan voluntarily representing two
 6   clients, pro bono, in two separate cases involving Darren that were already in
 7
     litigation when McMillan entered the case. (FAC ¶¶39-40). Again, in the latter
 8
     case, it was Plaintiffs that chose to involve themselves in an already-filed case that
 9
     did not involve any debt collection statutes or lawsuits against attorneys, and not
10
     involving Vania or Nicole, yet somehow the “enterprise” allegedly furthered its
11
     common purpose by targeting Plaintiffs.
12
              Since those first two stated “common purposes” of the “enterprise” do not
13
     involve any claims in the instant case, the question arises about why McMillan
14
     described it that way. As discussed below, the only logical reason for this
15
     description was so that McMillan could shoehorn Nicole and Vania into this case
16
     as part of an “enterprise,” based almost exclusively on the fact that Nicole and
17
     Vania were involved in lawsuits 3-7 years before Darren and McMillan even met.
18
     There is no other valid explanation for why McMillan described the “enterprise”
19
     this way, or why he tries to tie filing unrelated lawsuits many years ago to the
20
21
     allegations herein.4

22
23   4
         As argued in Darren’s Motion to Strike pursuant to Fed. R. Civ. P. 12(f) (Dkt. No.
24
     55-1), there is no connection between the filing of these lawsuits and the
25
     purportedly extortionate acts alleged elsewhere. Specifically, McMillan alleges
26
     that as part of the purported “enterprise,” Darren, with help of his sister Vania, an
27
     attorney, engaged in “predicate acts” of filing lawsuits from 2003-2009, with one
28
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                                 DEFENDANT DARREN CHAKER’S
                        MEMORANDUM IN SUPPORT OF HIS MOTION FOR SANCTIONS



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 1
 2                       b.     The Specific Allegations Regarding Nicole and Vania
 3                              Demonstrate That the Claims Against Them Are
 4                              Frivolous.
 5         McMillan’s allegations with respect to Nicole include:
 6
           • Nicole is generally alleged to have engaged in litigation based on
 7
               meritless or outright false claims. No facts are alleged as to why these
 8
               lawsuits were meritless or based on false claims, and none of the cases
 9
               cited involve Plaintiffs. (FAC ¶10);
10
           • Nicole, with Darren, brought a lawsuit in 2004—six years before
11
               McMillan and Darren met—in a case entirely unconnected to this
12
               litigation. While plaintiff alleges that Darren’s and Vania’s conduct in that
13
               action was inappropriate, no such allegations are made regarding Nicole.
14
               (FAC ¶¶11, 90);
15
           • Nicole attended a hearing in a paternity case in which Darren was a party
16
               “at least once.” There are no facts or even conclusory allegations to
17
               explain the significance of her attending any hearing. (FAC ¶¶40g, 92);
18
19
20
21
     case filed in 2010, all of which were based on “meritless or false claims.”
22
     McMillan does not allege that any of these cases involved Plaintiffs as a litigant or
23
     attorney, or that Plaintiffs had any pecuniary or other interests in the cases.
24
     Moreover, Defendants’ alleged filing of lawsuits against third-parties that were
25
     voluntarily dismissed or settled has no connection to McMillan’s allegations that
26
     Darren defamed McMillan and otherwise threatened him unless McMillan
27
     removed certain content from his website. (FAC ¶¶30-38).
28
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                               DEFENDANT DARREN CHAKER’S
                      MEMORANDUM IN SUPPORT OF HIS MOTION FOR SANCTIONS



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 1         • McMillan also received at least one letter from Darren that “appeared to
 2             have been sent via” Nicole. There is no allegation that Nicole knew the
 3             contents of the letter, and in any event, it is not extortionate on its face.
 4             (FAC ¶40h);
 5         • Nicole filed documents in the paternity case on behalf of Darren in which
 6             he was seeking a continuance because he could not appear in court. (FAC
 7
               ¶¶40i, 92); and
 8
           McMillan’s allegations with respect to Vania include:
 9
           • Like Nicole, Vania is generally alleged to have engaged in litigation based
10
               on meritless or outright false claims. No facts are alleged as to why these
11
               lawsuits were meritless or based on false claims, and none of the cases
12
               cited involve Plaintiffs. (FAC ¶¶10-11);
13
           • Allegations, based on information and belief with absolutely no factual
14
               support, that Vania accompanied Darren during a vandalism of Plaintiffs’
15
               property. (FAC ¶¶10-11); and
16
           • Vania blocked McMillan and third-party’s exit at a courthouse, generally
17
               walked around the public courthouse in the presence of McMillan, and
18
               pulled her car up next to an investigator on the road (without saying or
19
               doing anything to the investigator). (FAC ¶40).
20
21
           McMillan’s own words in the section of the FAC describing the

22   “enterprise” further illustrate the feebleness of the allegations against Nicole and

23   Vania and McMillan’s desperate attempt to manufacture a conspiracy:
24         “Further proof of these relationships, in addition to the familial
25         relationships, is described for example, in para. 40, in which during the
26         Plaintiffs’ representation of Susan A. in a lawsuit for paternity brought by
27         Defendant DARREN, Defendant VANIA blocked the entrance of the
28         courtroom of a licensed private investigator (Rivero) hired by Plaintiff
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                               DEFENDANT DARREN CHAKER’S
                      MEMORANDUM IN SUPPORT OF HIS MOTION FOR SANCTIONS



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 1         while DARREN blocked the doorway exit (para. 40 a-d); and VANIA and
 2         DARREN together chased Rivero in a black SUV in an effort to intimidate
 3         him (para. 40-e). Another example is described in para. 40g-i, in which
 4         Defendant NICOLE, who is not an attorney but was counseled by
 5         Defendant VANIA, appeared at a hearing in the Susan A. case while
 6         Defendant DARREN was incarcerated. Also, on or about January 21, 2014,
 7
           Defendant NICOLE sent an intimidating letter to Plaintiffs and filed
 8
           documents in the case and executed a declaration to which was attached the
 9
           threatening letter.”
10
     (FAC ¶92).
11
           The above are the only allegations tying Nicole and Vania to this case. Those
12
     very few, mostly unsupported, conclusory allegations led to McMillan filing this
13
     case in federal court as a RICO case, with a cause of action for RICO conspiracy
14
     added on, without alleging valid RICO damages. The facially frivolous nature of
15
     these allegations as they pertain to an “enterprise” or “conspiracy” are obvious.
16
     That aside, McMillan’s improper purpose in manufacturing this RICO case
17
     becomes even more clear when viewed in light of the fact that the majority of the
18
     “predicate acts” involving Nicole and Vania are related to the debt collection
19
     lawsuits filed by Darren, Nicole, and/or Vania between 2003-2009, which had
20
21
     nothing to do with Plaintiffs or any other allegations in the FAC. As such, if the

22   Court sees through McMillan’s disingenuous inclusion of those lawsuits as

23   “predicate acts” in furtherance of the “enterprise,” or as part of the “conspiracy,”
24   the allegations against Nicole and Vania become even more frivolous.
25         In sum, the following relevant allegations form the basis of McMillan’s
26   RICO “enterprise” and “conspiracy”: Nicole—Darren’s mother—allegedly mailed
27   a letter from Darren to Plaintiffs, appeared at a hearing in a paternity case, and
28   filed a document on his behalf, and Vania blocked an exit to a courthouse, and
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                               DEFENDANT DARREN CHAKER’S
                      MEMORANDUM IN SUPPORT OF HIS MOTION FOR SANCTIONS



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 1   stopped next to an investigator on a public road without saying or doing anything.
 2   McMillan has not alleged any plausible conspiracy or enterprise, and his
 3   allegations are not well-grounded in fact. His RICO claims are therefore frivolous,
 4   and further, the Court can infer McMillan’s intent to harass since the situation
 5   indicates that he has a motive to harass. In re Grantham Bros., 922 F.2d at 1443.
 6         As such, Plaintiffs should be sanctioned for McMillan’s bad faith in alleging
 7
     a RICO claim and a conspiracy under the facts above. See, e.g., Holgate, 425 F.3d
 8
     at 676 (affirming Rule 11 sanctions where complaint “failed to allege evidence of a
 9
     conspiracy and an act in furtherance of a conspiracy”); Copple v. Astrella & Rice,
10
     P.C., 442 F.Supp.2d 829, 836-37 (N.D. Cal. 2006) (conspiracy allegations
11
     sanctionable under Rule 11 because the complaint was “devoid of any facts
12
     supporting the existence of an agreement . . . nor [did] the facts plead reasonably
13
     support the inference of an agreement”); Saratoga Sav. & Loan. Ass’n v. Tate, 1988
14
     U.S. Dist. LEXIS 16573, at *11-12 (N.D. Cal. Sept. 27, 1988) (sanctions imposed
15
     where there was “[no] reasonable factual basis” for plaintiff’s conspiracy claim).
16
           B.     Darren Requests Attorney’s Fees and Costs Incurred In Bringing
17
                  this Motion.
18
           Rule 11(c) provides that a court may impose appropriate sanctions on any
19
     attorney who violates Rule 11, and award “the prevailing party the reasonable
20
21
     expenses, including attorney’s fees, incurred for the motion.” Fed. R. Civ. P.

22   11(c)(1), (2). Accordingly, Defendants seek leave to petition the court for an award

23   of fees and costs after the court adjudicates this motion.
24         C.     Alternatively, the Court Should Sanction Plaintiffs Under Its
25                Inherent Authority.
26         If, for any reason, the Court believes that McMillan’s conduct amounts to
27   bad faith but that Rule 11 is the improper vehicle for redressing this misconduct, it
28   should exercise its inherent authority to impose sanctions upon Plaintiffs. See Egan
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                               DEFENDANT DARREN CHAKER’S
                      MEMORANDUM IN SUPPORT OF HIS MOTION FOR SANCTIONS



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 1   v. Huntington Copper Moody & Maguire, Inc., No. 12 C 9034, 2015 U.S. Dist.
 2   LEXIS 47143, at *2 (N.D. Ill. Apr. 10, 2015) (court imposed sanctions for false
 3   allegation of sexual assault relying on its inherent authority).
 4           Here, although the standard for sanctions under the Court’s inherent
 5   authority is “bad faith,”5 the Court can easily find that standard satisfied based
 6   upon McMillan’s purpose in making the allegations above and indeed, in bringing
 7
     this lawsuit as a RICO conspiracy claim.
 8
     V.      CONCLUSION.
 9
             Darren respectfully requests that the Court to impose the following
10
     sanctions: (1) dismiss Plaintiffs’ FAC; (2) require Plaintiffs’ to reimburse Darren
11
     for his reasonable costs and attorney’s fees incurred as a result of the violation of
12
     Rule 11(b)(3); and (3) other relief that the Court considers appropriate under Rule
13
     11 or in its inherent authority.
14
15
     DATED:         March 28, 2017           Respectfully Submitted,
16
                                             SULLIVAN, KRIEGER, TRUONG,
17                                           SPAGNOLA & KLAUSNER, LLP
18
19                                           By:      /s/ Eliot F. Krieger__________
                                                      Eliot F. Krieger, SBN 159647
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                                                      Charles T. Spagnola, P.C., SBN
21
                                                      144983
22                                                    cspagnola@sullivankrieger.com
                                                      444 West Ocean Boulevard, Ste 1700
23
24   5
         See First Bank v. Hartford Underwriters Ins. Co., 307 F.3d 501, 510, 517 (6th
25
     Cir. 2002) (differences between Rule 11 sanctions and inherent authority sanctions
26
     include finding for Rule 11 sanctions of “objectively unreasonable conduct” versus
27
     finding for inherent authority sanctions of bad faith).
28
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                                 DEFENDANT DARREN CHAKER’S
                        MEMORANDUM IN SUPPORT OF HIS MOTION FOR SANCTIONS



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 2
                                                 Telephone: (562) 597-7070

 3                                      Attorneys for Defendant Darren Chaker
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                            DEFENDANT DARREN CHAKER’S
                   MEMORANDUM IN SUPPORT OF HIS MOTION FOR SANCTIONS



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 5
 6                         UNITED STATES DISTRICT COURT
 7                        SOUTHERN DISTRICT OF CALIFORNIA
 8
 9   SCOTT A. MCMILLAN, an                            Case No.: 16cv2186-WQH-MDD
     individual; THE MCMILLAN
10
     LAW FIRM, APC, a California                      ORDER GRANTING MOTION TO
11   professional corporation,                        SUBSTITUTE ATTORNEY
12                                  Plaintiffs,
13   v.
14   DARREN D. CHAKER, an
     individual, and as trustee of
15
     PLATINUM HOLDINGS GROUP
16   TRUST doing business as
     COUNTER FORENSICS;
17
     NICOLE CHAKER, an individual,
18   and as trustee of Nicole Chaker
     Trust One; VANIA CHAKER, an
19
     individual and as beneficiary of
20   The Island Revocable Trust under
     Declaration of Trust dated June 2,
21
     2015; MARCUS MACK, as
22   trustee of The Island Revocable
     Trust under Declaration of Trust
23
     dated June 2, 2015; NICOLE
24   CHAKER, an individual, and as
     trustee of The Nicole Chaker
25
     Revocable Living Trust, U/A dated
26   August 18, 2010
27                                Defendants.
28   TO ALL PARTIES AND THEIR RESPECTIVE ATTORNEYS OF RECORD:

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 1         Defendant Darren D. Chaker as an individual and as trustee of Platinum Holding
 2   Group Trust dba Counter Forensics (hereinafter “Mr. Chaker”) filed a Motion to Substitute
 3   Attorney (hereinafter “Motion”). (ECF No. 115). Mr. Chaker’s Motion included the
 4   signatures of his former counsel John Hochhausler, and his new counsel Stephen Erigero,
 5   consenting to the substitution of attorney.
 6         The Court, being satisfied that Mr. Chaker’s Motion meets all procedural
 7   requirements to substitute an attorney in the United States District Court for the District of
 8   Southern California, hereby GRANTS Mr. Chaker’s Motion.
 9         Therefore, Mr. Chaker’s Motion is hereby GRANTED, and Mr. Erigero shall be
10   substituted in as counsel for Mr. Chaker in place of Mr. Hochhausler.
11         IT IS SO ORDERED.
12    Dated: March 25, 2019
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    8                        UNITED STATES DISTRICT COURT
    9                     SOUTHERN DISTRICT OF CALIFORNIA
   10   SCOTT A. MCMILLAN; THE                        CASE NO. 16cv2186-WQH-MDD
        MCMILLAN LAW FIRM, APC,
   11                                                 ORDER
                                      Plaintiffs,
   12       v.
   13   DARREN D. CHAKER, et al.,
   14
                                    Defendants.
   15 HAYES, Judge:
   16         The matter before the Court are the motions to dismiss filed by Defendant Darren
   17 D. Chaker. (ECF Nos. 14, 16).
   18         On August 29, 2016, Plaintiffs Scott A. McMillan and the McMillan Law Firm
   19 initiated this action by filing a complaint against Defendants Darren D. Chaker, an
   20 individual and as trustee of Platinum Holdings Group Trust, dba Counter Forensics;
   21 Nicole Chaker, an individual and as trustee of Nicole Chaker Trust One; and Vania
   22 Chaker, an individual and as trustee of Vania Chaker Trust. (ECF No. 1). On
   23 November 14, 2016, Defendant Darren D. Chaker filed a motion to dismiss the
   24 complaint for failure to state a claim. (ECF No. 14). On November 15, 2016,
   25 Defendant Darren D. Chaker filed a motion to dismiss pursuant to California’s anti-
   26 SLAPP statute, California Code of Civil Procedure section 425.16 or, alternatively,
   27 under the Federal Rule of Civil Procedure 12(b)(6). (ECF No. 16). On December 5,
   28 2016, Plaintiffs filed a first amended complaint.

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    1         Plaintiffs have the right to file the first amended complaint pursuant to the
    2 Federal Rules of Civil Procedure. See Fed. R. Civ. P. 15(1)(b) (“A party may amend
    3 its pleading once as a matter of course within . . . 21 days after serving it, or . . . if the
    4 pleading is one to which a responsive pleading is required, 21 days after service of a
    5 responsive pleading or 21 days after service of a motion under Rule 12(b), (e), or (f),
    6 whichever is earlier.”). Once filed, an amended complaint supersedes the original
    7 complaint in its entirety. See Ramirez v. Cty. of San Bernardino, 806 F.3d 1002, 1008
    8 (9th Cir. 2015). Defendant's motions to dismiss, addressing the original complaint,
    9 became moot once the first amended complaint was filed.
   10         IT IS HEREBY ORDERED that the motions to dismiss (ECF Nos. 14, 16) are
   11 DENIED AS MOOT.
   12 DATED: January 23, 2017
   13
                                                   WILLIAM Q. HAYES
   14                                              United States District Judge
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   Long Beach, CA 90802
 6 Telephone: (562) 597-7070
 7 Attorneys for Defendant DARREN D. CHAKER,
   individually, and as trustee of PLATINUM HOLDINGS
 8 GROUP TRUST
 9                        UNITED STATES DISTRICT COURT
10                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
11
   SCOTT A. MCMILLAN, an individual,         )   Case No. 3:16-CV-02186-WQH-MD
12 THE MCMILLAN LAW FIRM, APC, a             )
   California professional corporation,      )   Judge: Hon. William Q. Hayes
13                                           )   Courtroom: 14B
                                             )
14                 Plaintiffs,               )   Magistrate: Hon. Mitchell D. Dembin
                                             )   Courtroom: 11th Floor
15          v.                               )
                                             )   DECLARATION OF DEFENDANT
16                                           )   DARREN D. CHAKER IN
     DARREN D. CHAKER an individual, and )       SUPPORT OF HIS MOTION FOR
17   as trustee of PLATINUM HOLDINGS         )   SANCTIONS PURSUANT TO FED.
     GROUP TRUST, dba COUNTER                )   R. CIV. P. 11
18   FORENSICS; NICOLE CHAKER, an            )
     individual, and as trustee of NICOLE    )                 MAY 1, 2017
                                                 Hearing Date: ________
19   CHAKER TRUST ONE, VANIA                 )   Courtroom: 14B
     CHAKER, an individual and as trustee of )
20   VANIA CHAKER TRUST ONE,                 )   Complaint Filed: August 29, 2016
                                             )
21                                           )   [PER CHAMBERS, NO ORAL
                   Defendants.               )   ARGUMENT UNLESS ORDERED
22                                           )   BY COURT]
                                             )
23                                           )
                                             )
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                  DEFENDANT DARREN D. CHAKER’S DECLARATION IN SUPPORT OF HIS
                       MOTION FOR SANCTIONS PURSUANT TO FED. R. CIV. P. 11
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 1            I, Darren D. Chaker, declare under penalty of perjury that the following facts are
 2 true and correct to the best of my information and belief:
 3            1.    I am a Defendant in the above entitled action. I am personally familiar
 4 with the facts contained in this Declaration.
 5            2.    The allegations in paragraph 21 of the First Amended Complaint are false.
 6 I have never engaged in human trafficking or sex trafficking. Furthermore, I have never
 7 been charged with human trafficking or sex trafficking by any law enforcement agency,
 8 or convicted of said crimes.
 9       3.     I did not engage in acts of vandalism to the property of James Frantz and

10 Jodi Frantz. Furthermore, I was never charged with vandalism to that property by any
11 law enforcement agency or convicted of the alleged crime.
12            4.    I did not commit “financial fraud,” or any related acts, in any manner with

13 respect to Jodi Frantz or James Frantz. Furthermore, I was never charged with financial
14 fraud in any manner by any law enforcement agency, nor was I convicted of any such
     crime.
15
              5.    I have never been charged with any criminal offense against James Frantz,
16
     Jodi Frantz, or Nadine Zaya.
17
              6.    The criminal possession of an assault weapon charge referred to in
18
     paragraphs 22, 27(d), and 31 of the First Amended Complaint was reduced to a
19
     misdemeanor, and subsequently expunged. (See Court Order, attached hereto as Exhibit
20
     A).
21
22 Dated:           March 6
                          __, 2017                     Darren Chaker
23                                                     DARREN D. CHAKER
24
25
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                      DEFENDANT DARREN D. CHAKER’S DECLARATION IN SUPPORT OF HIS
                           MOTION FOR SANCTIONS PURSUANT TO FED. R. CIV. P. 11
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                                                                                                                         CENTRAL JUSTICE CENTER


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                                                                                                                       ALAN CARLSON, Clerk of the Court
     1
                                           SUPERIOR COURT OF CALIFORAIAnAJOHNVI
                                                                COUNTY OF ORANGE
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     4
                                                                                             Case No.: 02HF1533
         THE PEOPLE OF THE STATE OF
     5
                                                                                             ORDER REDUCING FELONY TO
         CALIFORNIA,                                                                         MISDEMEANOR, AND EXPUNGING
     6
                                                                                             CONVICTION
                                 Plaintiff,
     7
                   vs.
     8
         DARREN D. CHAKER,
     9
                                 Defendant.
 10

 11
                   It appearing to the court from the foregoing petition and from records in this case, tha
 12
         defendant herein is eligible for the relief provided in Penal Code section 17 and 1203.4,                                           cl
                   IT IS HEREBY ORDERED that the felony conviction of violating Penal Code Itttio
         /    2-SO           P
 14          _-,1- 2-7fritatl-) be reduced to a misdemeanor pursuant to Penal Code section 17,
             1
15       conviction in the above-entitled action be set-aside, a plea of not guilty be entered,

16       complaint be hereby DISMISSED.

17
                  IT IS FURTHER ORDERED that pursuant to Penal Code section 11117 and 13X, th
         State Department of Justice is notified of the terms of this order.
18

         DATED: 0
19

20
                                                   c9
21                I hereby certify the foregoing instrument consisting of
                            is a true and correct copy of the original on file in this
                                                                                           on. Gary S. Paer
                                                                                         Judge of the Superior Court        GARY S. PAER
                             ATTEST (DATE)
                             ALAN CARLSON EXECUTIVE OFFICER AND CLERK OF THE
                             SUP RIOR COURT OF CALIFORNIA, COUNTY OF ORANGE

                                                                                    DEPUTY
24

25




                                                                              EXHIBIT A
                                                                                          1261
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                                                                         1 of 38
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1    Scott A. McMillan, CBN 212506
     THE MCMILLAN LAW FIRM, APC
2    4670 Nebo Drive, Suite 200
     La Mesa, California 91941-5230
3    (619) 464-1500 x 14
     Fax: (619) 828-7399
4
     Attorney for Plaintiff,
5    Scott A. McMillan and The McMillan Law Firm, APC
6
7
8                           UNITED STATES DISTRICT COURT
9                         SOUTHERN DISTRICT OF CALIFORNIA
10
     SCOTT A. MCMILLAN, an individual,             Civil Case No.: '16CV2186 JM MDD
11   THE MCMILLAN LAW FIRM, APC, a
     California professional corporation,          Complaint for
12                                                 1.    Racketeer Influenced and
           Plaintiffs,                             Corrupt Organizations Act (18
13                                                 U.S.C. §§ 1962(c))
           vs.                                     2.    Racketeer Influenced and
14                                                 Corrupt Organizations Act (18
     DARREN D. CHAKER an individual,               U.S.C. §§ 1962(d))
15   and as trustee of PLATINUM                    3.    Civil Extortion
     HOLDINGS GROUP TRUST, dba
16   COUNTER FORENSICS; NICOLE
     CHAKER, an individual, and as trustee of          DEMAND FOR JURY TRIAL
17   NICOLE CHAKER TRUST ONE,
     VANIA CHAKER, an individual and as
18   trustee of VANIA CHAKER TRUST
     ONE,
19
           Defendants.
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1    Plaintiffs allege as follows:
2                                          JURISDICTION
3           1. This Court has jurisdiction over the subject matter of the causes of action in this
4    complaint by virtue of:
5           a. federal question jurisdiction pursuant to 28 U.S.C. § 1331, involving an action
6           pursuant to 18 U.S.C. § 1964(c), the Federal Racketeer Influenced and Corrupt
7           Organizations Act (“RICO”). This Court has subject-matter jurisdiction over this
8           action pursuant to 28 U.S.C. §1332;
9           b. supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a), involving claims
10          that are so related to claims in the action within the Court’s original jurisdiction
11          that they form part of the same case or controversy under Article III of the United
12          States Constitution; and
13          2. This Court has jurisdiction over the person of the Defendant Darren Chaker
14   because Defendant transacts business within this judicial district, and Defendant is
15   amenable to service of process within the meaning of Federal Rule of Civil Procedure
16   Rules 4(e), 4(f), and 18 U.S.C. § 1965(b).
17          3. Further, this District Court, the Hon. Larry A. Burns, District Judge presiding,
18   has jurisdiction over Defendant because Defendant is under an order of supervised release
19   according to the terms of sentence of Defendant’s conviction for bankruptcy fraud,
20   United States v. Chaker, U.S.D.C., So. Dist. California, Case No. 3:15-cr-07012-LAB.
21          4. Venue is proper in this district pursuant to 18 U.S.C. § 1965 and 28 U.S.C. §
22   1391 because Defendants transacts business in this district or, alternatively, this district is
23   where a substantial part of the events or omissions giving rise to the claim occurred.
24                                          THE PARTIES
25          5. Plaintiff, SCOTT A. MCMILLAN (hereinafter referred to as “Plaintiff
26   McMillan”), is a resident of the State of California, County of San Diego. Plaintiff is a
27   California licensed attorney, and is engaged in intra-state, and interstate commerce in the
28   course of his practice. Plaintiff McMillan also operates a law school, the McMillan


                                               Complaint                                           2

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1    Academy of Law, a Caliornia corporation, which is unaccredited, but registered with the
2    Committee of Bar Examiners, State Bar of California.
3           6. Plaintiff, THE MCMILLAN LAW FIRM, APC, a California professional
4    corporation, (hereinafter referred to as “Plaintiff TMLF”) has its principal place of
5    business in the County of San Diego, State of California. Plaintiff McMillan operates
6    Plaintiff TMLF.
7           7. Defendant, DARREN CHAKER (a.k.a. Darren Del Nero a.k.a. Darren Del
8    Nero-Chaker a.k.a. Darren Shaker, a.k.a. D. David Hunter) (hereinafter referred to as
9    “Defendant DARREN”), is presently a resident of the State of California, County of San
10   Diego. Defendant DARREN conducts business through and holds assets as trustee in
11   PLATINUM HOLDINGS GROUP TRUST, a self-settled trust. Plaintiff is further
12   informed and believes that Defendant DARREN conducts business under the pseudonym
13   or doing-business-as “COUNTER FORENSICS.” Defendant DARREN was deemed a
14   vexatious litigant in Superior Court of California, County of San Diego Case Nos. 591421
15   (December 2, 1997) and GIC757326 (June 22, 2001).
16          8. Defendant VANIA CHAKER (hereinafter referred to as “Defendant VANIA”)
17   is presently a resident of the State of California, County of San Diego, and is Defendant’s
18   Darren’s sister. On one or more occasions, VANIA has participated in the acts set forth
19   herein, providing assistance to Defendant DARREN in committing predicate acts.
20   Plaintiff is informed and believes that Defendant VANIA conducts business through and
21   holds assets as trustee in a trust of an unknown name, which shall be referred to herein as
22   VANIA CHAKER TRUST ONE, a self-settled trust. Plaintiff intends to amend the name
23   of that trust at such time as it becomes known to Plaintiff herein, and substitute the true
24   name for that trust at that time.
25          9. Defendant NICOLE CHAKER (hereinafter referred to as “Defendant
26   NICOLE”), is the mother of Defendant DARREN and Defendant VANIA. On one or
27   more occasions, Defendant NICOLE has participated in the acts set forth herein,
28   providing assistance to Defendant DARREN in committing predicate acts. Plaintiff is


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1    informed and believes that Defendant NICOLE conducts business through and holds
2    assets as trustee in a trust of an unknown name, which shall be referred to herein as
3    NICOLE CHAKER TRUST ONE, a self-settled trust. Plaintiff intends to amend the
4    name of that trust at such time as it becomes known to Plaintiff herein, and substitute the
5    true name for that trust at that time.
6                 DEFENDANTS’ ENTERPRISE AND PREDICATE ACTS
7           10. Plaintiffs are informed and believe, and based thereon allege that Defendant
8    VANIA is an attorney, currently licensed to practice law in the State of California.
9    Defendant VANIA has lived at various times in California and the Pennsylvania.
10   Defendant VANIA, as a profession, both individually on her own account and to assist
11   Defendants DARREN and NICOLE, engaged in litigation based on meritless or outright
12   false claims, typically relying upon the Fair Credit Reporting Act, 15 U.S.C. § 1681, and
13   on at least one occassion bringing a claim for personal injury, deriving income from such
14   fraudulent activity. As part of her pattern of racketeering activity, Defendant VANIA has
15   attempted and sometimes succeeded in collecting unlawful debts, i.e., a claim based on
16   false or meritless legal claims, and derived income from such false claims and unlawful
17   threats of suit. For instance in Vania Chaker v. Monarch Group Management, Inc.,
18   U.S.D.C. So. Dist. of Cal., Case No. 06cv1534W(AJB), Defendant VANIA borught a
19   class action complaint for violation of the Federal Fair Debt Collections Practices Act, 15
20   U.S.C. § 1692, et seq. and the California Rosenthal Fair Debt Collection Practices Act,
21   arising from her landlord’s service upon her of a three day notice to pay rent or quit.
22   Within the U.S. District Court for the Southern District of California, Defendant VANIA
23   has brought three other cases based on allegations of violations of the Fair Debt
24   Collection Practices Act, e.g., Vania Chaker v. Collection Company of America, U.S.D.C.
25   So. Dist. of Cal., Case No. 05cv390 BEN(AJB) [unpaid T-mobile cellular phone
26   charges]; Vania Chaker v. Allied Interstate, Inc., U.S.D.C. So. Dist. of Cal., Case No.
27   05cv0212 LAB(RBB)[unpaid DirectTV bills]; Vania Chaker v. CAMCO, U.S.D.C. So.
28   Dist. of Cal., Case No. 04cv1735 W(RBB).


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1           11. Plaintiffs are informed and believe, and based thereon allege that Defendant
2    VANIA did not solely file such suits in the U.S. District Court for the Southern District of
3    California, but also assisted in cases in the Central District of California, appearing as
4    attorney in the suit brought by Defendant DARREN subnom (Darren Del Nero) and
5    Defendant NICOLE alleging defendant’s violations of the Federal Fair Debt Collections
6    Practices Act, 15 U.S.C. § 1692, et seq.. Specifically, Defendants DARREN and
7    NICOLE brought suit against Midland Credit Management Inc., in the case of Del Nero
8    & Chaker, et al., v. Midland Credit Management Inc., U.S.D.C. Cen. Dist. of Cal., Case
9    No. 2:04-cv-01040-ABC-SH. Defendant DARREN and his attorneys were sanctioned
10   $155,979.09 after the court found that Defendant DARREN brought suit in bad faith and
11   for the purpose of harassment. (Del Nero v. Midland Credit Management Corp. et al.,
12   2:04-cv-01040-ABC-SH.(Attorneys fee award later vacated against Chaker’s counsel.)
13   The Court issued an order to show cause re contempt for Defendant VANIA’s conduct
14   during the jury trial, and barred her from the courtroom during the remainder of the trial.
15   The court’s basis for the order was that Defendant VANIA attempted to aid a witness in
16   answering counsel’s questions. [ECF 91.] Defendant VANIA also represented Defendant
17   DARREN subnom (Darren Del Nero) in Darren Del Nero v. Reliable Adjustment Bureau
18   Inc et al, U.S.D.C. Cen. Dist. of Cal., Case No. 2:04-cv-00969-FMC-JWJ, another case
19   alleging violations of 15 U.S.C., § 1681. In each of those instances, in a likely effort to
20   avoid Defendant DARREN’s prefiling order as a vexatious litigant, Defendant VANIA
21   initially appeared on Defendant DARREN’s behalf, then substituted out to allow
22   Defendant DARREN to prosecute the case in propria persona. Defendant VANIA
23   engaged in such transitory representation of Defendant DARREN to assist him avoiding
24   the bar of the prefiling orders placed resulting from his designation as a vexatious litigant.
25          12. As to Defendant DARREN, Plaintiffs are informed and believe, and based
26   thereon allege that Defendant DARREN holds himself out to the public as operating a
27   business called COUNTER FORENSICS. The COUNTER FORENSICS web page
28   described its services as follows:


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1          “Founded in 2006, the origination of CounterForensics.com can be traced to
2          the cyber security and forensics background of our consultant, Darren
3          Chaker. Mr. Chaker (www.DarrenChaker.com) previously worked in law
4          enforcement, and as a security contractor in the Middle East. More recently,
5          Mr. Chaker managed electronic discovery (e-discovery) for a leading
6          multinational law firm conducting large-scale digital forensic
7          investigations, and provided electronic discovery services involving civil,
8          corporate and criminal matters. Mr. Chaker also implemented security
9          enforcement protocols and systems with Military Grade Communications
10         for use between international offices to discuss sensitive matters. Mr.
11         Chaker has additional expertise in matters involving:
12         • Software piracy;
13         • Sexual harassment via e-mail, instant messaging and other forms of electronic
14         communications;
15         • Monitoring employee activity;
16         • Employee sabotage;
17         • Intrusion detection;
18         • Recovery of deleted files;
19         • Lost password recovery and cracking of locked files;
20         • Discovery of hidden and deleted e-mails and pictures;
21         • Internet usage and unauthorized software installed on a company machine; and
22         Removal of viruses, pictures, software and other data items which may be hidden
23         from the user.
24         See Exhibit 6,
25         https://web.archive.org/web/20150208142616/http://www.counterforensics.com/
26         (Accessed on August 23, 2016.)
27         13. At various times relevant to the facts stated herein, Defendant DARREN has
28   resided in California, Nevada and Texas, and engaged in transactions and acts affecting


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1    interstate commerce:
2           14. Defendant DARREN has, as a profession, engaged in litigation based on
3    meritless or outright false claims, typically relying upon the Fair Credit Reporting Act, 15
4    U.S.C. § 1681, and on at least one occassion bringing a claim for personal injury, deriving
5    income from such fraudulent activity. As part of his pattern of racketeering activity,
6    Defendant DARREN has attempted and sometimes succeeded in collecting unlawful
7    debts, i.e., a claim based on false or meritless legal claims, and derived income from such
8    false claims and unlawful threats of suit.
9           15. In another 2005 case, attorney’s fees of $42,934.84 were awarded against
10   Defendant DARREN for filing a baseless lawsuit. (Chaker v. Richland (C.D. Cal. 2005)
11   CV 05-7851-RSWL; See also Chaker v. Imperial Collection Services (C.D. Cal. 2004)
12   CV 04-2728-PA (alleging claims under the FDCPA found to be without merit); and Del
13   Nero v. Riddle & Associates PC, et al. (C.D. Cal. 2003) CV 03-6511-GHK (same).) In a
14   2007 case, Defendant DARREN and his attorneys were sanctioned $155,979.09 after the
15   court found that Defendant DARREN brought suit in bad faith and for the purpose of
16   harassment. (Del Nero v. Midland Credit Management Corp. et al. (C.D. Cal. 2007) CV
17   04-1040 GPS.) In a 2009 case, Defendant DARREN was ordered to pay $136,316.14 for
18   bad faith due to Defendant DARREN falsely claiming identity theft. (Chaker v. Nathan
19   Enterprises Corp. (C.D. Cal. 2009) CV 04-2726-RSWL.)
20          16. Defendant DARREN filed other suits based allegations of violations of Fair
21   Credit Reporting Act, 15 U.S.C. § 1681, i.e., Darren Chaker-Del Nero v. Afni, Inc.,
22   U.S.D.C. Cen. Dist. of Cal., Case No. 2:08-cv-03405-ODW-SS; Darren D Chaker v.
23   First City Bank Credit Union, U.S.D.C. Cen. Dist. of Cal., Case No.
24   2:04-cv-02727-GPS-RZ; Darren D Chaker v. Factual Data Corporation, U.S.D.C. Cen.
25   Dist. of Cal., Case No. 2:04-cv-02729-JFW-AJW; Darren D Chaker v. European Auto
26   House, U.S.D.C. Cen. Dist. of Cal., Case No. 2:04-cv-02731-R-PJW; Darren Chaker v.
27   Arrow Financial Services LLC, U.S.D.C. Cen. Dist. of Cal., Case No.
28   2:04-cv-07050-FMC-FMO.


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1           17. Defendants have a pattern of attacking the attorneys which oppose them, i.e.,
2    in Darren D Chaker v. Felipa R. Richland, et al., U.S.D.C. Cen. Dist. of Cal., Case No.
3    2:05-cv-07851-RSWL-PLA, Defendant DARREN sued attorney Richland and her law
4    office, and her client Nathan Enterprises Corp. for alleged violations of the Fair Credit
5    Reporting Act, 15 U.S.C. § 1681. Plaintiff is informed and believes and based thereon
6    alleges that during her defense of the both cases, Ms. Richland was stalked, her property
7    vandalized. Ultimately, Ms. Richland and her client prevailed, with Defendant DARREN
8    held liable for costs and attorneys fees. [ECF 25, 26.]
9           18. Defendant DARREN, subnom Darren Chaker Del-Nero, brought additional
10   suits in the United States District Court for the District of Nevada based on allegations of
11   violation of the Fair Credit Billing Act, 15 U.S.C. § 1666, e.g., Chaker-Delnero v.
12   Nevada Federal Credit Union, et al, U.S.D.C. District of Nevada., Case No.,
13   2:06-cv-00008-BES-GWF; for violations of the Fair Debt Collections Practices Act, 15
14   U.S.C. § 1692, Chaker-Delnero v. Butler & Hailey, et al, U.S.D.C. District of Nevada.,
15   Case No. 2:06-cv-00022-KJD-LRL, Chaker-Delnero v. Clark County Collection Service,
16   LLC, U.S.D.C. District of Nevada, 2:06-cv-00123-JCM-PAL, and Chaker-Delnero v.
17   Collectco, U.S.D.C. District of Nevada, 2:06-cv-00244-RLH-GWF. In each of these
18   cases, docket entries reflect a voluntary dismissal. Plaintiff is informed and believes that
19   in those cases, the Defendants paid a sum to “buy their peace” rather than to spend
20   attorneys fees litigating the case, despite the lack of the merit to Defendant DARREN’s
21   claims.
22          19. Defendant DARREN, subnom Darren Chaker, brought additional suit in the
23   United States District Court for the Southern District of Texas (Houston) based on
24   allegations of violation of the Fair Debt Collections Practices Act, 15 U.S.C. § 1692,
25   Chaker v. The CMI Group, U.S.D.C. Southern District of Texas (Houston),
26   4:07-cv-01802F [Time Warner Communications.] In that case, the docket entries reflect a
27   voluntary dismissal. Plaintiff is informed and believes that in that case, the Defendants
28   paid a sum to “buy its peace” rather than to spend attorneys fees litigating the case,


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1    despite the lack of the merit to Defendant DARREN’s claims.
2           20. Defendant DARREN, subnom David Hunter, brought additional suit in the
3    United States District Court for the District of Arizona, entitled Hunter v. Receivables
4    Performance Management, LLC, U.S.D.C. District of Arizona, 2:10-cv-00665-MHM
5    [Sprint cellular phone service]. Within that suit Defendant DARREN attached letters
6    claiming an address at 11881 S. Fortuna Road, #223, Yuma, AZ 85367 [Exhibit B, ECF
7    1-3.] In that case, the docket entries reflect a voluntary dismissal. Plaintiff is informed
8    and believes that in that case, the Defendant paid a sum to “buy its peace” rather than to
9    spend attorneys fees litigating the case, despite the lack of the merit to Defendant
10   DARREN’s claims.
11                                      SEX TRAFFICKING
12          21. Plaintiff is informed and believes and based thereon alleges that Defendant
13   DARREN also engaged, within the last ten years, in human trafficking, and derived
14   income from such activity.
15          22. Defendant DARREN’s record of arrests and prosecutions (RAP) reveals
16   arrests for insufficient funds/check, attempting to prevent/dissuade victim/witness,
17   receiving known stolen property, vehicle theft, first degree burglary, grand theft, and
18   being in possession of an assault weapon. He was convicted of invading/looking into a
19   tanning booth (1997), and possession of an assault weapon (2006). Such crimes were
20   punishable by a year or more incarceration.
21          23. Defendant DARREN also obtained mortgages on real estate through false
22   statements, and thereafter rather than paying the mortgages, Defendant DARREN kept the
23   rents from such properties to fund his enterprises, and when his mortgagors sought to
24   recover their real property collateral, Defendant DARREN filed false bankruptcy petitions
25   in order to stall or avoid the foreclosure and continue to collect rental income.
26          a. Defendant DARREN used the ill-gotten proceeds of his enterprise to fund his
27          lifestyle and further his illegal activities including through the purchase of
28          computers, paying for travel, development of various domain names and online


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1        presences to the detriment of Plaintiff herein.
2        b. In order to dissuade those members of law enforcement and attorneys in private
3        practice who would challenge Defendant DARREN’s criminal conduct, including
4        Plaintiff herein, Defendant DARREN used various means and threats, including
5        harassment, stalking, defaming others, vandalizing property, hacking computers,
6        spoofing emails, and identity theft.
7        c. Defendant DARREN has used the proceeds of his racketeering activity to
8        purchase computers, equipment, and Internet access services in order to engage in
9        his and the other Defendants VANIA and NICOLE’s frauds, and efforts to
10       dissuade those who oppose their illegal conduct, including Plaintiff herein.
11       d. On March 22, 2012, Defendant DARREN was indicted in United States v.
12       Darren David Chaker, Case No. 4:12CR00168-001, and thereafter granted pre-
13       trial release under supervision with U.S. Pretrial Services. The Indictment,
14       attached as Exhibit 1, alleges a portion of Defendants’ scheme, which Plaintiff
15       incorporates by reference here.
16       e. While on supervision with U.S. Pretrial Services, through false statements to a
17       United States officer, he violated his terms of release by failing to disclose to U.S.
18       Pretrial Services and the Court the fact that he procured a U.S. Passport using the
19       alias “D. David Hunter.”
20       f. On December 17, 2013, Defendant DARREN suffered a Judgment in a
21       Criminal Case in the case entitled United States v. Darren David Chaker, Case No.
22       4:12CR00168-001, in the United States District Court for the Southern District of
23       Texas (Houston), for Bankruptcy Fraud, 18 U.S.C § 157(3). On April 14, 2016,
24       that conviction was affirmed by the United States Court of Appeals for the Fifth
25       Circuit, case number 14-20026, as reported in United States v. Chaker, 820 F.3d
26       204, 206 (5th Cir. 2016). He was sentenced to a total term of 15 months, and was
27       additionally sentenced to three years supervised release, as part of the special
28       conditions of supervision was ordered:


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1           “The defendant shall provide the probation officer access to any requested
            financial information. If a fine or restitution amount has been imposed, the
2           defendant is prohibited from incurring new credit charges or opening
            additional lines of credit without approval of the probation officer.
3
            The defendant is prohibited from possessing a credit access device, such as
4           a credit card, unless first authorized by the probation officer.
5           The defendant is required to participate in anger management counseling as
            deemed necessary and approved by the probation officer. The defendant
6           will incur costs associated with such program, based on ability to pay as
            determined by the probation officer.
7
            The defendant is required to participate in a mental health program as
8           deemed necessary and approved by the probation officer. The defendant
            will incur costs associated with such program, based on ability to pay as
9           determined by the probation officer.
10          The defendant may not stalk and/or harrass other individuals to include, but
            not limited to, posting personal information of others or defaming a person's
11          character on the internet.”
12   (ECF 312, 4:12CR00168-001)
13    DEFENDANTS’ PRIOR ACTS OF EXTORTION AND WITNESS TAMPERING
14          24. Defendants rely on keeping their past conduct, criminal convictions, lawsuits,
15   and generally bad reputation out of public view. To accomplish this the defendants
16   regularly use pseodynms, attempt to seal documents and proceedings which may alert the
17   public to information about Defendants that if known, would provide a defense or would
18   affect a fact-finder’s view on their credibility.
19          25. Defendant DARREN falsely, and in order to gain credibility with unknowing
20   law enforcement and laypersons, holds himself out as a former law enforcement officer or
21   government security employee, including at various times claiming an “Ex-cop” or to be
22   an employee of the “Diplomatic Security Service.”
23          26. Victim Zaya: Plaintiffs are informed and believe that, in accordance with
24   Defendants’ common plan and scheme, Defendant DARREN committed one or more acts
25   of extortion against Nadine Zaya:
26          a. Plaintiff is informed and believes, and based thereon alleges, that Defendant
27          DARREN formerly had a dating relationship with Nadine Zaya. At some point
28          between August and October 2002, Defendant DARREN and Zaya, traveled from


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1        Southern California to Scottsdale, Arizona. Petitioner took Zaya to a gun store,
2        where he purchased the Rifle, a licensed reproduction of a Fabrique Nationale
3        FAL (FN-FAL) battle weapon.8 At the gun store, petitioner told Zaya he once
4        owned “the exact same gun” but his mother had taken it away from him.
5        b. After Defendant DARREN purchased the Rifle, he made Zaya take pictures of
6        him with it. He also made Zaya pose with the Rifle. Defendant DARREN then
7        took Zaya to a firing range, where he fired the Rifle and showed her how to shoot,
8        hold, and load it. When Zaya held the Rifle, Defendant DARREN reassured her,
9        “It’s okay. Look, it’s fun. . . . You’re going to be okay. I’m an ex-cop. I know how
10       to shoot a gun.” Shortly thereafter, petitioner and Zaya returned to California with
11       the Rifle.
12       c. On October 14, 2002, Laguna Beach police officers visited Defendant
13       DARREN’s apartment to investigate allegations that he had sexually exploited a
14       minor. A police officer entered the apartment, knocked on a bedroom door, and
15       identified himself as a police officer. After some delay, Defendant DARREN
16       emerged from the bedroom and told the officer the room belonged to him. He
17       refused, however, to permit the police officers to search it. Defendant DARREN
18       called Zaya after the police officers left the apartment. He expressed concern that
19       the fully-assembled Rifle would be considered an illegal weapon. Defendant
20       DARREN told Zaya he was going to remove parts from the Rifle to “make it
21       legal” and asked her to keep the parts. The next day, the police officers returned to
22       Defendant DARREN’s apartment with a search warrant. During the search, an
23       officer found the Rifle in petitioner’s bedroom closet. He noticed the Rifle had a
24       detachable magazine and a pistol grip, but that it was missing its bolt carrier group.
25       The officers also found unloaded magazines and pictures of petitioner posing with
26       the Rifle at a firing range. In the pictures, the Rifle contained the bolt and the
27       magazine.
28       d. On November 18, 2002, the District Attorney of Orange County filed a felony


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1        complaint charging defendant with one count of possession of an assault weapon
2        (Penal Code § 12280(b)) and one count of receiving stolen property (Penal Code §
3        496, subd. (a)). Shortly after the People filed the complaint, defendant began
4        writing letters to the court. In these letters, defendant claimed the police had
5        illegally seized privileged documents from his apartment. He also criticized the
6        judges presiding over his case and the attorneys assigned to represent him. On July
7        30, 2003 -- after defendant had written six letters to various judges -- the court
8        ordered defendant to stop. The court notified defendant it would "not take action
9        on personal communications from a represented defendant when his case is
10       pending before this court." (People v. Chaker, No. G037362, 2008 Cal. App.
11       Unpub. LEXIS 999, at *4-5 (Ct. App. Feb. 4, 2008).)
12       e. Plaintiffs are informed and believe that in July 2005, the Superior Court of
13       California, County of San Diego issued a restraining order against Darren D.
14       Chaker pursuant to the Domestic Violence Protection Act (Fam. Code, § 6200 et.
15       seq. (the Act)), requiring him to stay away from Nadine Zaya for a five-year
16       period. He appealed from that order on various grounds, contending in part that
17       Zaya's evidence was insufficient to support its issuance; the Court of Appeals of
18       California, Fourth District, Division One, however, rejected his arguments and
19       affirmed the order.
20       f. On June 15, 2006, Zaya filed a request for a temporary restraining order under
21       the Act against Chaker. In her request, Zaya stated under penalty of perjury that
22       Chaker made threatening calls to her and told her he would harm her or her family
23       if she testified in a pending criminal matter against him. (Zaya v. Chaker (Oct. 19,
24       2007, D049874) [nonpub. opn.].)
25       g. Thereafter, on or about July 19, 2006, and then again on or about December 8,
26       2006, Defendant DARREN sent nude photos of Zaya to Zaya’s brother’s
27       employer, which had been taken by Defendant DARREN.
28       27. Victims Frantz: Plaintiffs are informed and believe that the following is true


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1    regarding Defendant DARREN’s efforts to extort San Diego attorneys James Frantz, Jodi
2    Frantz, and Charles Kim:
3          a. On or abut December 2010, Jodi and James Frantz retained Charles Kim to
4          represent them in a civil protective action. Jodi Frantz sought a restraining order
5          against Defendant DARREN, in Hautaluoma v. Chaker, San Diego Superior Court
6          Case No. 717794.
7          b. Prior to the extortion attempt against James Frantz, Jodi Frantz, and Charles
8          Kim, Plaintiffs are informed and believe that Defendants engaged in acts of
9          vandalism to the property of James Frantz and Jodi Frantz, which they believed to
10         have been perpetrated and intended by Defendant DARREN to intimidate James
11         Frantz and Jodi Frantz and send a message.
12         c. In the preceding months to the extortion attempt, Jodi Franz was the victim of
13         financial fraud in the summer of 2010. Ms. Frantz had caused two of her then
14         current credit cards be de-activated by the issuers due to fraud alerts. The recent
15         event happened in the week preceding the extortion attempt, while she was on
16         vacation. Although Ms. Frantz believed Chaker is responsible for the fraud, she
17         believed that she had no evidence. Ms. Franz reported the thefts to her credit card
18         issuers. She had unauthorized charges on credit accounts from Bank of America,
19         Union Bank, and Nordstrom. In the Summer of 2010, Mr. Frantz had also had his
20         identity stolen, and used for credit card fraud. Although Mr. Frantz believed
21         Chaker was responsible for the fraud, he believed that he had no evidence.
22         d. On December 22, 2010, at 2:54 a.m., Defendant DARREN caused to be sent a
23         fax to the office of Charles Kim. The fax included inappropriate reference to the
24         death of James Patrick Frantz II (the son of James and Jodi Frantz). Also faxed
25         was a complete copy of the County of San Diego Investigative report #1 0-01098
26         that documented the medical examiners death investigation in that case. The fax
27         reference the social security number of Jodi Frantz, and Medical Doctor (Dr.
28         Christine Miller) who treated Jodi Frantz. The fax appears to threaten to publish


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1           the social security number and "embarrassing" medical information if Attorney
2           Kim did not agree to Chaker's demands. Also included was an apparent implied
3           threat to file complaints with the state bar association against Charles Kim and
4           James Frantz if they did not comply with his demands.
5           28. Victims Mateo: Nicole Mateo was in a relationship with Defendant
6    DARREN, which resulted in the birth of a daughter. Plaintiff is informed and believes
7    that following the efforts to obtain child support, Defendant DARREN initiated a
8    campaign of harassment against Wendy Mateo and her husband Steven Mateo. Steven
9    Mateo is a deputy constable with the Harris County Constable Office, in Spring, Texas.
10   The Mateo’s hired an attorney by the name of Cynthia Tracy to address Defendant
11   DARREN’s conduct. In response, Defendant DARREN initiated a harassment campaign
12   that included sending sexually explicit photos of Nicole Mateo to the employers of the
13   Mateos, obtaining the email passwords of various Mateo accounts, and sending emails
14   containing sexually explicit material through such accounts. The Mateo’s attorney,
15   Cynthia Tracy, was targetted by a blog page that also made false and defamatory
16   statements about her. Ultimately, Attorney Tracy declined to continue to represent the
17   Mateos due to the aggravation and the expense of dealing with Defendant DARREN.
18
19            DEFENDANTS’ EFFORTS DIRECTED AT PLAINTIFF HEREIN
20          29. Plaintiff operates a website called FEARNOTLAW.COM, and has operated
21   that site since 2005. Fearnotlaw has maintains tens of thousands of unpublished decisions
22   from California’s court of appeals. The unpublished decisions were taken directly from
23   the court of appeals website and posted en masse, at various times. There was no
24   intentional targeting of Darren Chaker or any other subject of the decisions.
25          30. Defendant DARREN in this case initially contacted Plaintiff to demand
26   removal of decisions posted concerning his cases that had been decided by the Court of
27   Appeals. One of those decisions was Zaya v. Chaker, California Court of Appeal Case
28   No. D049874. In Zaya v. Chaker, the Court of Appeal affirmed a trial court’s imposition


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1    of a five year restraining order against Mr. Chaker imposed pursuant to the Domestic
2    Violence Protection Act, Fam. Code, 6200 et. seq. Defendant DARREN Chaker’s letter
3    to Plaintiff of November 23, 2010 contained Ms. Zaya’s original petition, which alleged
4    that Mr. Chaker posted bogus sex-service advertisements on Craigslist falsely attributed
5    to Ms. Zaya, and had threatened to post compromising photos and videos of Ms. Zaya
6    online if she testified against him in his felony assault-weapon case. Plaintiff did not
7    remove any of the appellate decisions from Fearnotlaw.
8           31. Defendant DARREN thereafter initiated a campaign of harassment and
9    vandalism against Plaintiff McMillan and his family. Usually during the holidays,
10   Plaintiff’s family’s cars would be vandalized. Plaintiff’s brother had the words
11   “fearnotlaw” scratched on the trunk of his BMW. In another instance, the driver’s side
12   mirror of Plaintiff’s brother’s truck was smashed. On that instance, a neighbor that heard
13   the noise, saw a black SUV driving rapidly away. Defendant DARREN owns a Black
14   Dodge Durango. Plaintiff is informed and believes, and based thereon alleges, that
15   Defendant VANIA Chaker accompanied Defendant DARREN during that vandalism.
16          32. Other members of Plaintiff McMillan’s family were attacked as well.
17   Plaintiff’s mother’s car had acid poured on the trunk. Plaintiff’s father’s car had its tires
18   slashed. After each event, Mr. Chaker would send Plaintiff an e-mail wishing him
19   “happy holidays” or making some other statement. It was clear to Plaintiff that Darren
20   Chaker was acknowledging the vandalism by his timing of his emails, and attempting to
21   send a message and intimidate Plaintiff.
22          33. At one point, on or about November 23, 2010, Defendants came to Plaintiff’s
23   home and delivered a letter to his mail box signed by Defendant DARREN. The letter
24   once again demanded that Plaintiff remove the posts concerning Defendant DARREN ’s
25   cases from Fearnotlaw. Thereafter, Defendant DARREN sent Plaintiff McMillan e-mails
26   referring to his dogs – which indicated to Plaintiff that he had come to his house and
27   looked into his back yard.
28          34. Because of Defendants’ activities, Plaintiff McMillan and his family members


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1    installed security cameras around their houses. Plaintiff McMillan also installed security
2    cameras on the outside of the commercial building in La Mesa where Plaintiff TMLF has
3    its offices.
4           35. Defendant DARREN also began posting matters about Plaintiffs on the
5    Internet. Initially, he used his own domain names. Later, he began using Plaintiff’s name
6    under Google’s “blogspot” service. Through the years, clients have contacted Plaintiff
7    McMillan to let him know that they have seen the Defendant DARREN ’s posts
8    concerning Plaintiff on the Internet. Chaker’s posts were troubling to Plaintiffs’ clients.
9           36. Postings on Internet gripe sites and consumer review sites began appearing,
10   the posters made negative comments, but used a pseudonym. Plaintiffs are informed and
11   believe based upon the timing and the circumstances that Defendants were posting those
12   comments.
13          37. Because Defendant DARREN had posted about Plaintiff on the Internet,
14   others that had conflicts with Defendant DARREN contacted Plaintiff for advice and
15   representation in dealing with Defendant DARREN . Plaintiff has provided that
16   representation pro-bono, and advanced the expenses.
17          38. Plaintiff ultimately represented Wendy Mateo, one of the Defendant
18   DARREN’s victims, in Chaker v. Mateo, San Diego Superior Court case,
19   37-2010-00094816-CU-DF-CTL, Hon. Timothy B. Taylor, Judge presiding. Wendy
20   Mateo is the mother of Nicole Mateo. Plaintiff is informed and believes that Nicole
21   Mateo had a brief relationship with Darren Chaker, which resulted in the birth of their
22   daughter. Plaintiff began representing Ms. Wendy Mateo, the grandmother of Darren
23   Chaker’s child during the pendency of Darren Chaker’s appeal of the judgment in the
24   Chaker v. Mateo case. That appeal resulted in the published decision of Chaker v. Mateo,
25   209 Cal. App. 4th 1138 (2012). Following that appeal, the Superior Court awarded
26   Plaintiffs attorneys fees. Those attorneys fees awarded have been the subject of judgment
27   debtor examinations and orders from Judge Taylor as discussed below.
28          39. Thereafter, Plaintiff began representing Susan A. in a paternity case filed in


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1    the San Diego Superior Court entitled Chaker v. A (the “Paternity Case”). Ms. A had
2    also been in a relationship with Mr. Chaker. Ms. A. sets out her experience with Chaker
3    in her declaration dated July 11, 2013, a true and correct copy of which is attached hereto
4    as Exhibit ‘A’ (Under Seal). Mr. Chaker claims that Ms. A.’s child, L, is the product of
5    that relationship. Ms. A. disputes that Mr. Chaker is the father, biological or otherwise,
6    of her child L.
7           a. On July 12, 2013, Plaintiff McMillan filed a document in the Paternity Case,
8           which included statement from Leesa Fazal, State of Nevada Office of the
9           Attorney General, who had provided her confidential investigative report for
10          submission in the Paternity Case, signed on July 11, 2013. (Exhibit 2, Submitted
11          Under Seal).
12          b. On July 22, 2013, at 8:45 a.m., Officer Fazal appeared in San Diego Superior
13          Court, according to Plaintiff’s subpoena to testify in the Paternity Case regarding
14          the facts alleged in the above mentioned Declaration. Officer Fazal and Plaintiff
15          McMillan appeared before the Superior Court, Judge Gerald Jessop, presiding.
16          The court did not have time to hear the case in the morning, and ordered Ms. Fazal
17          and Mr. Chaker back to court later that afternoon. As they exited the court,
18          Defendant DARREN followed Ms. Fazal and Plaintiff McMillan a short distance,
19          and walked at a quick pace with his mobile telephone in his hand and appeared to
20          take video of them while laughing loudly. At that time, Ms. Fazal had not yet
21          testified, and Defendant DARREN’s behavior was purposefully threatening and an
22          apparent effort to intimidate Officer Fazal, prior to her testimony.
23          c. When Plaintiff McMillan and Officer Fazal returned they were accompanied by
24          licensed private investigator Richard Rivero. Following the hearing Defendant
25          VANIA approached Richard Rivero in a rapid manner, within a couple feet, and
26          asked him what he was doing there and demanded his name. Although he had not
27          been called to testify, Rivero responded that he was a witness, he would speak to
28          Defendant VANIA in the presence of court personnel, and attempted to pass her.


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1        Defendant VANIA blocked his and Plaintiff McMillan and Officer Fazal’s exit, so
2        Plaintiff, Rivero and Fazal returned to the court room, and Defendant VANIA
3        followed. Thereafter, the courtroom deputy ordered Defendant VANIA to leave,
4        and to leave Rivero, Plaintiff McMillan and Ms. Fazal alone. The courtroom
5        deputy allowed Rivero, Plaintiff McMillan and Ms. Fazal, and shortly therafter,
6        confirmed that Defendant VANIA was no awaiting them outside the courtroom.
7        d. Plaintiff McMillan, Officer Fazal and Rivero exited the courtroom, then entered
8        the elevator to descend to the lobby. After exiting the elevator and entering the
9        lobby. Defendant DARREN blocked the doorway exit and in a loud and
10       commanding voice demanded that Officer Fazal be arrested for being armed. He
11       wanted to place her under citizen's arrest. Officer Fazal was escorted to the side
12       while the deputies determined that there were no grounds to arrest.    While they
13       waited, the Defendant VANIA entered the location and brushed by Rivero as she
14       entered the elevator.
15       e. Rivero left the building with Officer Fazal, Rivero then noted Defendant
16       VANIA’s black SUV following him at a high speed. Rivero pulled to the side.
17       Defendant VANIA stopped her SUV in the middle of the street adjacent to
18       Rivero’s vehicle. Rivero felt that Defendant VANIA was attempting to intimidate
19       him. Rivero noticed Defendant DARREN hunched down in the passenger’s seat so
20       as to not be identified. Such chase was intended, and did intimidate Officer
21       FAZAL in that it gave her additional concern regarding participating in the legal
22       proceedings.
23       f. On July 24, 2013, and thereafter during the pendency of the Paternity Case,
24       Plaintiff provided the United States materials and information regarding Defendant
25       DARREN, specifically that Defendant DARREN had a “go kit” which included a
26       passport under his identity “David Hunter”. Which information Plaintiff
27       understands resulted in the revocation of Defendant DARREN ’s pre-trial release.
28       During Defendant DARREN’s resulting incarceration, the Chaker v. A case was


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1           dormant.
2           g. During his incarceration, Darren Chaker’s mother Nicole Chaker appeared at
3           least once at a hearing in that case.
4           h. Plaintiff is informed and believes, and based thereon alleges that in that interim
5           period Defendant DARREN was incarcerated. Also during that time, i.e., on or
6           about January 21, 2014, Plaintiff received at least one letter from Mr. Chaker that
7           appeared to have been sent via Defendant NICOLE. (Exhibit 4, Submitted Under
8           Seal). The letter contained the following threat:
9           “You never considered the fact that due to your conduct your client may
10          suffer. I should remind you the First Amendment is a 2 way street and I
11          have the right to express my opinion as well.”
12          i. On February 2, 2014 Defendant NICOLE filed documents in the paternity case
13          on behalf Defendant DARREN, including executing a declaration in his name.
14          Within the letter to the Court attached to the declaration, Defendant NICOLE
15          repeats the implied threats to reveal Susan A’s applications for government
16          benefits. (Exhibit 5, Submitted Under Seal).
17          j. Because Mr. Chaker was designated a vexatious litigant, his case was dismissed
18          for his failure to obtain a pre-filing order. Mr. Chaker has exhausted his appeals in
19          that matter.
20          40. On or about September 18, 2014, during the pendency of the Paternity Case,
21   Plaintiff McMillan received an e-mail from Darren Chaker, a true and correct copy of
22   which is attached hereto as (Under Seal) Exhibit ‘B’. Within that letter, Mr. Chaker
23   threatens further actions against Plaintiffs unless he convinced his client Susan A to grant
24   him concessions in the paternity case. Plaintiff has excerpted the relevant portions below
25   (with redactions and substitutions to protect the privacy of third parties):
26          9/18/14
27          Time Sensitive – Reply Required by 8PM Today
28          Confidential Settlement Communication – California Evidence Code §
            1142

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1        Dear Scott, S, and C,
2        This is a request to settle pending claims against C, and Susan A. First,
         allow me to clarify this letter is constitutionally protected communication. "
3        'As a general rule, even if subject to some exceptions, what you may do in a
         certain event you may threaten to do, that is, give warning of your intention
4        to do in that event, and thus allow the other person the chance of avoiding
         the consequences' "]. Equally well established is the fact that "[o]ne
5        legitimate purpose of a demand letter is to intimidate." (Subrin & Main, The
         Integration of Law and Fact in an Uncharted Parallel Procedural Universe
6        (2004) 79 Notre Dame L.Rev. 1981, 2003 (hereafter Subrin & Main).)
7        As you know the pending case concerning my son, L, Chaker v. A, San
         Diego Superior Court Case No. D543061 and, thankfully to Scott the case
8        was stayed, in lieu of filing a motion to dismiss – since I had no right to
         personally appear in the case while in custody. Scott, I do thank you for the
9        stay and that is why I never opposed the motion while in custody.
10                                             * **
         To keep it simple, here’s my offer:
11                                             ***
12
              * I will remove all blogs I have control over concerning Scott or his
13       firm, and am able to remove the complaintsboard.com posting and if
         unable to remove pissedconsumer.com, I will pay up to $500 to have SEO
14       performed to push down the links as I know these sites continue to hurt the
         practice. (I understand I have negative comments about me, however I do
15       not need to impress clients with my reputation. I can assure you at least
         one client a year doesn’t call due to reviews – costing you and your
16       family money.)
17            * No blogs concerning S or C’s company, have been posted, but
         various items have been set to self-publish in the event I am unable to
18       access the blog and push back the self-publish date another two weeks.
19       In short I am agreeing to things a court would not order, but am trying to be
         amicable.
20
         Scott, you once said to me “I win every time we go to court”. I think you
21       mischaracterize what winning is to me. In court, it is not the court ruling.
         It’s the time spent away from your office. Taking up your time and
22       associate’s time. Taking food out of your kids mouth. Staying up late, or
         ignoring kids and wife while spending time on litigating the instant case.
23       Costing you clients – at least one person a year doesn’t call you based on
         my blogs – which have been updated recently,
24       scott-mcmillan-law.blogspot.com. Your reputation and past performance,
         likely increases the likelihood of opposing counsel’s decision to fight a
25       pending case longer - which costs you more time and money. Out of court,
         I have a few more victories than you and will always prevail in that
26       respect, and win by having you and family spending money on
         cameras, watching the monitors, looking out the window, and drawing
27       drapes – of course there’s no proof I have not done a thing nor do I
         admit such, but if you think I am responsible, indeed I win every day.
28                                            ***


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1    (Exhibit ‘B’, Filed Under Seal)
2     Hacking Twitter and Unauthorized Access to Plaintiff McMillan’s Paypal Account
3           41. Plaintiffs believe that Defendant DARREN Chaker has attempted to hack into
4    Plaintiff’s twitter and paypal accounts. Specifically,
5           a. On October 22, 2014, Plaintiff McMillan received a notice from Paypal of
6           “unusual activity” on his account. Plaintiff hadn’t attempted to sign in to his
7           Paypal account at that time. A true and correct copy of that email is attached
8           hereto as Exhibit ‘C’. Due to the timing of the notice, Plaintiff is informed and
9           believes that it was Darren Chaker that hacked into Plaintiff’s account.
10          b. On November 19, 2014, Plaintiff received a notice of a “suspicious sign in
11          detected on [his] twitter account.” Plaintiff hadn’t attempted to sign in to his
12          twitter account. A true and correct copy of that email is attached hereto as Exhibit
13          ‘D’. Due to the timing of the notice, Plaintiff is informed and believes that it was
14          Darren Chaker that hacked his account.
15          42. Following that threat of September 18, 2014, Mr. Chaker began posting
16   information on the scott-mcmillan-attorney.blogspot.com site that he operated that,
17   among other things, Plaintiff had molested his daughter. The first such statement
18   appeared on Thanksgiving Day, i.e., Thursday, November 27, 2014. A copy of that post
19   is attached hereto as Exhibit ‘E.’ Plaintiff had not authorized Defendants to use
20   Plaintiff’s name in any manner. Plaintiff had not molested his daughter. That webpage
21   has since been removed.
22          43. In order to improve the likelihood of the search engines indexing his site to
23   Plaintiff’s name, Defendant DARREN optimized that page, Exhibit ‘E’, for search
24   engines with “labels” including “4760-Nebo, attorney-sex-offender, el-
25   cajon-sex-offender, la-mesa-sex-offender. Rebecca-McMillan, scott-mcmillan-law,
26   www.mcmillanlaw.us.”
27          44. Mr. Chaker also operated a Blogger site at
28   http://mcmillanlawfirm.blogspot.com/. Plaintiff had not authorized Defendant DARREN


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1    to use the firm’s name in this manner. He published similarly false, scandalous, libelous
2    material on that site.
3           45. On or about November 28, 2011, Defendant DARREN Chaker posted on the
4    Blogger site at scott-mcmillan-attorney.blogspot.com, a post entitled “Maura Larkins
5    Linked to Sex Abuse.” Within that post Chaker repeats his false statements about
6    Plaintiff, and also recited a completely fabricated association between Plaintiff and Ms.
7    Larkins, who is another individual with whom Mr. Chaker has conflict. A true and correct
8    copy of that post is attached hereto as Exhibit ‘G’.
9                                         Spoofing Emails
10          46. On December 3, 2014, Plaintiff received a “spoofed” or bogus email that
11   purported to have been sent from Plaintiff’s own e-mail address “scott@mcmillanlaw.us”
12          a. The email stated:
13          “Scott McMillan and family are child molesters per a recent report,
            http://scott-mcmillan-law.blogspot.com/2014/11/scott-mcmillan-
14          la-mesa.html”
15          b. A true and correct copy of the email is attached as Exhibit ‘H.’
16          c. A true and correct copy of the email with the header is attached as ‘I’.
17                                          Google Places
18          47. On December 4, 2014, a “Darren C.” posted a 2 star review for the McMillan
19   Law Firm, APC on Google places, wherein he stated:
20
            “I wish I knew of his interests in children, http://scott-mcmillan-
21          law.blogspot.com/2014/11/scott-mc.”
22          a. A screen shot of Plaintiff’s administration page for Google Places is attached
23          hereto as Exhibit ‘J’.
24          b. That post was later deleted. In light of the timing of that e-mail, the use of the
25          name “Darren C.”, and that the identical content was posted on his blogspot sites,
26          Defendant DARREN was the poster.
27          48. Defendant DARREN. Chaker sent e-mails to many members of the local legal
28   community, accusing Plaintiff of molesting his daughter. A copy of one such email


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1    dated December 6, 2014 is attached hereto as Exhibit ‘K’. That e-mail was sent to
2    Andrew Griffin, an attorney for an opposing party in a bankruptcy case where Plaintiff
3    represented a creditor, who in turn, forwarded the e-mail to Plaintiff on December 8,
4    2014.
5            49. On December 22, 2014, at 1:57 a.m., Defendant DARREN sent Plaintiff an e-
6    mail with the subject line “Pending Paternity Case”. A copy of that email is attached
7    hereto as Exhibit ‘L.’
8            50. On December 23, 2014, at approximately 10:08 a.m., Plaintiff received an e-
9    mail from Defendant DARREN Chaker entitled “Request to See Son.” A copy of that
10   email is attached hereto as Exhibit ‘M’.
11           Threats to E-mail Colleagues in the San Diego East County Community
12           51. On December 23, 2014, Plaintiff received an e–mail from Defendant
13   DARREN where he stated:
14           “Mr. McMillan, the reported conduct I have found is very improper and
             disgusting. I have been forced to notify numerous members of the bar about
15           my blog concerning your firm, most recently the Foothills Bar Association,
             and will start naming your daughter, I believe a former Ms. El Cajon, as the
16           likely victim. I hope you have ceased your conduct and notice to hundreds
             of people has done the public some good.
17
             Dear XXXXXX,
18
             Sex offender. As a member of the bar and likely parent, I would hope notice
19           of a report concerning La Mesa Attorney Scott McMillan, who also
             operates McMillan Academy of Law without a single applicant/graduate,
20           http://campus.lawdragon.com/schools/mcmillan-academy-of-law/ was
             reported to take part in sexual molestation of a minor. See,
21           http://scott-mcmillan-law.blogspot.com/2014/11/scott-mcmillan-la-mesa.ht
             ml
22
             The report provides great detail and hope you pass this email along, as I
23           have distributed it to 200 attorneys in San Diego. Scott McMillan is also a
             documented family friend of Kenneth Bourke who was also arrested for
24           child molestation – see report -
             http://scott-mcmillan-law.blogspot.com/2014/09/scott-mcmillan-molest-la-
25           mesa.html
             Happy Holidays to all.
26           Darren Chaker”
27           a. A copy of that email is attached hereto as Exhibit ‘N’.
28           52. On or about June 8, 2015, Google removed the scott-mcmillan-attorney.


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1    blogspot.com site, which defendants had created without Plaintiffs authorization.
2           53. On or about June 16, 2015, Google removed the mcmillanlawfirm.
3    blogspot.com site, which defendants had created without Plaintiffs authorization.
4                                    COMPLAINTSBOARD.COM
5           54. Since 2011 and through the present, a person that Plaintiff McMillan believes
6    to be Defendant DARREN based on identical content posted on his website and Mr.
7    Chaker’s statements above of September 18, 2014 that he is “able to remove the
8    complaintsboard.com posting”, has posted derogatory and defamatory statements about
9    Plaintiff on the Internet at:
10   http://www.complaintsboard.com/complaints/the-mcmillan-law-firm-la-mesa-c571484.ht
11   ml#comments
12          a. A true and correct copy of that post as published is attached hereto as Exhibit
13          ‘O.’
14          b. The poster is identified as “Tracy Law Houston.” Cynthia Tracy, Attorney at
15          Law, P.C., a family law attorney in Houston, Texas, formerly represented Nicole
16          Mateo in the custody and child support case against Darren Chaker.
17          55. Despite the removal of the blogspot sites, on August 23, 2015, a poster using
18   the name and search term “scott-mcmillan-la-mesa” posted the following as a comment to
19   the post at http://www. complaintsboard.com/complaints/the-mcmillan-law-firm-la-mesa-
20   c571484.html#comments
21          a. “I located the police report about Scott McMillan, La Mesa, Attorney reportedly
            molesting children. I also found he operates his own law school out of a small, run
22          down office near the train tracks, but in the same breath says he's a leading law
            firm. With this reputation, I cannot imagine such is true.”
23          b. Attached as an image to the comment, he re-posted his November 27, 2014
24          post, i.e., the content at Exhibit ‘B’ herein, the repost of which is attached at
25          Exhibit ‘P.’
26          56. On September 16, 2015, a poster using the name and search term
27   “mcmillan-law-firm-la-mesa” posted the following as a comment to the post at
28   http://www.complaintsboard.com/complaints/the-mcmillan-law-firm-la-mesa-c571484.ht


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1    ml#comments
2          a. “Scott McMillan, McMillan Law Firm, sued the hardworking Sheriff over his
           Facebook Account. The law settled for about nothing. It is unfortunate law
3          enforcement need to pay out money to defend such nuisance lawsuits, when that
           money should be going to hiring more officers, and buying newer equipment. With
4          about 60 loses in the Court of Appeal docket, astonishing he is still in office.”
5          b. That case – Karras v. Gore, U.S. D.C. So. Dist. Cal., 14cv2564-BEN-KSC –
6          was settled for a payment of attorneys fees plus the token $20. Thus, the above
7          statement is false, as the Sheriff paid attorneys fees and agreed to change practices.
8          c. Attached as an image to the comment, he posted a partial news article, a copy of
9          which is attached as Exhibit ‘Q.'
10         57. Also on September 16, 2015, a poster using the name and search term
11   “mcmillan-law-firm-la-mesa” posted the following as a comment to the post at
12   http://www.complaintsboard.com/complaints/the-mcmillan-law-firm-la-mesa-c571484.ht
13   ml#comments
14         a. “McMillan Academy of Law, run by Scott McMillan appears to have not had a
           single student go through his law firm, where the class is shared in the same space
15         as the attorney, oh and also Dean McMillan (also an attorney working out of same
           office. According to LawDragon, no one has ever graduated or even applied to that
16         law school.”
17         b. Attached as an image to the comment, he posted a webpage print-out, a copy of
18         which is attached as Exhibit ‘R.'
19         58. Also on September 16, 2015, a poster using the name and search term
20   “mcmillan-law-firm-la-mesa” posted the following as a comment to the post at
21   http://www.complaintsboard.com/complaints/the-mcmillan-law-firm-la-mesa-c571484.ht
22   ml#comments
23         a. “McMillan sued by Yelp! for posting his own reviews. Read the story in detail,
24         sad set of circumstances, especially when you need to create your own reviews.”
25         In truth and in fact, Plaintiffs had not posted their “own reviews.” Plaintiffs had
26         represented Julian McMillan, who had been sued by Yelp.
27
           b. Attached as an image to the comment, he posted a news article, a copy of which
28
           is attached as Exhibit ‘S.' Plaintiff did not post his own reviews. Indeed, in that

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1          case, Plaintiff was not accused by Yelp of posting comments. Rather, Plaintiff
2          represented another attorney, Julian McMillan, in the case. Chaker edited out the
3          part that would have otherwise explained that Plaintiff was not the Defendant
4          DARREN in that action, but rather just the attorney. Contrary to Defendants’
5          suggestion, Plaintiff was partially successful at the time of the posting of the
6          article. Plaintiff won a motion to change venue, and counsel for Yelp paid
7          Plaintiffs attorneys fees.
8          59. Most recently, on February 9, 2016, a poster using the name and search term
9    “mcmillan-law-firm” posted the following as a comment to the post at
10   http://www.complaintsboard.com/complaints/the-mcmillan-law-firm-la-mesa-c571484.ht
11   ml#comments
12         a. “Williams v. The Superior Court of San Diego County/Nordstrom, Inc., Court
           of Appeal Case Number D068765. shows Scott McMillan, McMillan Law Firm in
13         Las Mesa, LOST ANOTHER case. This one where Nordstrom is vigorously
           defending itself against allegations of attorney, law professor, and law school dean
14         (Yes, Scott McMillan is all three of those titles since he runs a law school,
           McMillan Academy of Law, out of two story office near the train tracks. Despite
15         not a single student has graduated, or appears to have attended, no one has taken
           the bar exam either. Nonetheless, this is another example of Scott McMillan losing
16         another case - although he claims to be a "leading" San Diego attorney.”
17         b. Attached as an image to the comment, the docket from , a copy of which is
18         attached as Exhibit ‘T.’
19         c. This statement is also false, as the court of appeals allowed the appeal to
20         proceed in light of the law regarding final, appealable orders.
21         d. Further, the Court entered an order of stipulated reversal of such appeal.
22         60. On or about March 27, 2016, Plaintiff McMillan identified a post using
23   Plaintiff TMLF’s logo and created in a manner that suggested it was posted by Plaintiff or
24   someone else from his firm. Plaintiff did not authorize Defendant DARREN or anyone
25   else to use the McMillan Law Firm’s logo in this manner. The latest entry was posted on
26   or about December 17, 2015. Specifically, a poster using the name and search term
27   “scott-mcmillan-law-firm-la-mesa” setup a bogus page entitled “The McMillan Law Firm
28   Customer Care Service” using The McMillan Law Firm, APC logo at


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1    http://www.complaintsboard.com/the-mcmillan-law-firm-b121166
2           a. A true and correct copy of that page is attached hereto as Exhibit ‘U.’
3           Notably, the bogus “customer care service” repeats the same false allegations as
4           previously made by Chaker. i.e., that Plaintiff molested his daughter.
5           b. On December 8, 2015 – Plaintiff’s birthday – Mr. Chaker emailed Plaintiff the
6           following statement:
7           Good afternoon Scott,
8           I have been unable to locate a TM/Copyright for the domain
            mcmillanlaw.us or for your law firm with the USPTO or U.S. Copyright
9           Office. If there is such, kindly advise prior to 7PM today. If I do not receive
            a response, it will be presumed there is no such TM/Copyright. Prior to
10          posting additional material, I will extend this courtesy to you.
11          Also, I have updated the material on
            http://scott-mcmillan-law.blogspot.de/p/scott-mcmillan-attorney-la-mesa.ht
12          ml
13          I have also copied Maura Larkins on this email.
14          Best regards,
15          Darren”
16          c. A true and correct copy of the email dialog that occurred December 8, 2014, are
17          attached as Exhibit ‘V’.
18          d. Plaintiffs had not authorized the use of their name, the logo, or creation of a
19          customer care site on Complaintsboard.com.
20          61. Following Mr. Chaker’s posts to complaintsboard.com, individuals solicited
21   Plaintiffs purporting to be able to have the ability to remove the posts. They wanted to
22   charge Plaintiffs $4,800 to remove defendants posts.
23                                  PISSEDCONSUMER.COM
24          62. Since 2011 and through the present and as late as February, 2016, a person
25   using a pseudonym, that Plaintiff McMillan believe to be Defendant DARREN, or the
26   other defendnats, based on the content and Defendant DARREN’s statements above of
27   September 18, 2014 referring to the “pissedconsumer.com” website, has posted
28   derogatory and defamatory statements about Plaintiff on the Internet at the website


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1    domain “PISSEDCONSUMER.COM”:
2             63. A Google search of “scott mcmillan site:pissedconsumer.com” returns some
3    3200 results. Most of those results appear to have been posted in 2015 and 2016.
4    Plaintiffs believe that defendants have posted all of those entries. They have done so
5    either anonymously or using some variation of the key words: “The Mcmillan Law Firm -
6    La-Mesa-Attorney-Scott-McMillan”
7             64. Unlike Complaintsboard.com, Pissedconsumer.com does not remove the
8    information posted by persons such as Defendant DARREN. Specifically, the terms of
9    service of Pissedconsumer states:
10            “5. Removal of Information
              By posting information on PC, you understand and agree that the material
11            will not be removed even at your request. You shall remain solely
              responsible for the content of your postings on PC.”
12
     http://www.pissedconsumer.com/tos.txt.
13
              65. The Pissedconsumer.com post that Chaker started on November 3, 2011, is
14
     attached hereto as Exhibit ‘W’. Within that post he misrepresents Plaintiff’s win/loss
15
     ratio.
16
              66. On August 23, 2015, Defendant DARREN made the false allegation, accusing
17
     Plaintiff of child molestation, a copy is attached hereto as Exhibit ‘X’.
18
              67. On December 4, 2015, Defendant DARREN posted a review entitled “The
19
     Mcmillan Law Firm - Scott McMillan Law Firm - La Mesa - Malpractice” which falsely
20
     accuses Plaintiff of malpractice, attached hereto as Exhibit ‘Y.’ Chaker falsely states that
21
     an appeal in Williams v. Nordstrom, Inc. was to be dismissed, and termed it
22
     “malpractice.” In fact, the appeal was not dismissed and ultimately resulted in a
23
     stipulated order of reversal.
24
              68. On February 11, 2016, Defendant DARREN posted a review “The Mcmillan
25
     Law Firm - Scott McMillan Law Firm La Mesa,” which is attached hereto as Exhibit ‘Z.’
26
     Chaker made statements that were knowingly false as he stated that the “the Court of
27
     Appeal DENIED the petition after forcing the defendant incur huge amounts of attorney
28
     fees.” In fact, the defendant did not file a response. Chaker had no basis to suggest that

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1    attorneys fees were incurred resulting from the filing of the petition. Chaker further
2    falsely stated Plaintiff’s record as “almost 80 under his belt and a hand full of wins.”
3                                           Current Posts
4           69. To date Defendant DARREN continues to post material on his website in a
5    manner that is intended to optimize his websites to respond to search engine indexes with
6    his name. Specifically, he continues to use the tags “mcmillan-associates-la-mesa”,
7    “scott-mcmillan-la-mesa”:
8           70. On March 29, 2016, Plaintiff accessed
9    http://darren-chaker.blogspot.com/search/label/scott-mcmillan-la-mesa and retrieved the
10   attached article, a true and correct copy of which is attached hereto as Exhibit ‘AA’
11   which incorporates the use of the tags.
12          71. On March 29, 2016, Plaintiff accessed http://darrenchaker.us/ and retrieved
13   the attached article bearing a date of December 8, 2015, a true and correct copy is
14   attached hereto as Exhibit ‘BB’, which incorporates the use of the tags.
15          72. On March 29, 2016, Plaintiff McMillan accessed http://darrenchaker.org/ and
16   retrieved the attached article bearing a date of January 23, 2016, a true and correct copy is
17   attached hereto as Exhibit ‘CC’, which incorporates the use of the tags.
18                          Defendant DARREN’s Use of Pseudonyms
19          73. Plaintiff is informed and believe that Darren Chaker also uses the pseudonym
20   “Luis Perdomo.” On March 29, 2016, Plaintiff accessed
21   https://plus.google.com/1048021677 37415969641/posts/HySqAKY7jYR and retrieved
22   the attached page, a true and correct copy is attached hereto as Exhibit ‘DD’,
23   incorporating the same allegations and artwork published by Defendant DARREN
24   Darren Chaker.
25                Defendant DARREN admits that he knows that he is barred
26                               from posting defamatory material.
27          74. On January 22, 2016, Defendant DARREN Chaker appeared for a judgment
28   debtors exam. He had been previously ordered to produce the names of the domains that


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1    he holds. On the record in the Chaker v. Mateo case, he admitted that he had such logins
2    and that his use of those could result in the revocation of his supervised release.
3    [Transcript, p. 9] Defendant DARREN was also ordered to provide the identifying
4    information as to Internet domains that he owns. A copy of relevant portions of the
5    transcript is attached hereto as Exhibit ‘EE’.
6            75. Defendant DARREN did not appear as ordered on March 11, 2016, in the
7    Superior Court to provide the information. As recited in the transcript of January 22,
8    2016, Defendant DARREN was aware that he was required to appear at the continued
9    examination. [Exh. EE, page 31]
10           76. On March 11, 2016 Defendant DARREN failed to appear for his continued
11   judgment debtor’s examination. Judge Taylor issued a bench warrant for his appearance,
12   which remains outstanding. A copy of that bench warrant is attached hereto as Exhibit
13   ‘FF’.
14           77. On March 11, 2016 the Superior Court in the Chaker v. Mateo case has
15   ordered the appointment of a receiver to take possession of Mr. Chaker’s personal
16   property, including his domain names for ultimate sale in order to satisfy the judgment.
17   Despite orders to do so, Defendant DARREN has not complied with the orders of the
18   Superior Court.
19            Defendant DARREN has created false accounts with Plaintiff’s name
20           78. Defendant DARREN created accounts using Plaintiff’s name and the name of
21   the McMillan Law Firm. One of those accounts is on Slideshare.net, and reflected on
22   Exhibit ‘GG’. Plaintiff surmise that he has prepared that account in order to upload his
23   defamatory material that he intends to falsely attribute to him. Plaintiff believes that
24   Defendant DARREN made that account because it is associated by Slideshare with an
25   account under the name of David Gingras, another attorney who successfully represented
26   a victim of Defendants and whom Chaker has also targeted for harassment.
27           Defendants have inflicted damage upon both Plaintiffs and their clients.
28           79. Attorneys rely upon their reputation in the community and before the courts


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1    that they practice in. Defendant DARREN’s outrageous lies which he has published have
2    injured Plaintiffs’ practice. Opposing counsel in other, unrelated cases have mentioned
3    the existence of the posts. Clients have mentioned the existence of the posts and their
4    content. Plaintiff McMillan believes that jurors that Plaintiff has tried cases in front of
5    have accessed the posts and taken them into account in determining the cases. Thus,
6    Defendants threats made on September 18, 2014 have borne out. Plaintiffs have invested
7    substantial time in developing Plaintiff McMillan’s reputation as a zealous advocate for
8    his clients, and remaining consistent to the duties of an attorney as set forth in Business
9    and Professions Code section 6068, and particularly that set forth in subsection (h):
10          “Never to reject, for any consideration personal to himself or herself, the
11          cause of the defenseless or the oppressed.”
12   (Bus. & Prof. Code 6068(h).)
13          80. Susan A. has been, prior to representation by Plaintiffs herein, defenseless and
14   oppressed by Defendants.
15          81. Wendy Mateo was defenseless and was oppressed by Defendants.
16          82. Plaintiff understood that Defendants could resort to attacks of Plaintiff
17   McMillan’s character when Plaintiff continued to represent Susan A despite Defendants
18   threats to engage in libel against him. Defendants then performed on their threats, and has
19   engaged in the forewarned attacks against Plaintiff – and later Plaintiff’s family members
20   – following January 21, 2014, and September 18, 2014.
21                                    FIRST CLAIM FOR RELIEF
22           Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. §1962(c)
23                                      (Against All Defendants)
24          83. Plaintiffs repeat and reallege the averments contained in paragraphs 1-82 as
25   though fully set forth herein.
26          84. On July 22, 2013 Defendants DARREN and VANIA used threats and violence
27   in an attempt to intimidate a witness to the Paternity Case.
28          85. On January 21, 2014, Defendants DARREN and NICOLE committed


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1    extortion under 18 U.S.C. § 1961(1), by threatening to reveal alleged reporting
2    discrepancies to tax authorities contained in private and confidential tax information that
3    he had obtained regarding her. On January 21, 2014, Defendant DARREN was
4    incarcerated outside the State of California, and was unable to send the extortionate letter,
5    which was sent by certified mail, from San Diego.
6           86. On or about September 14, 2014, while Defendant DARREN was under
7    home release Bureau of Prisons custody, Defendant DARREN committed extortion under
8    18 U.S.C. § 1961(1) by threatening to stalk and defame Plaintiff if he continued to
9    represent Susan A in the Paternity Case consistent with Plaintiff’s professional duties
10   owed to his client. Defendant DARREN was engaged in threatening behavior, i.e, to
11   defame and harass Plaintiff to deprive Plaintiff of his peace of mind, his enjoyment of the
12   proceeds of the goodwill attributable to his name and reputation, if Plaintiff did not
13   consent to Defendant DARREN ’s unlawful demands.
14          87. Defendants are an “enterprise” under U.S.C. § 1961(4).
15          88. Defendants have engaged in a pattern of racketeering activity as that term is
16   used in U.S.C. § 1961(5).
17          89. Defendants have violated 18 U.S.C. § 1962, which states:
18          “(c) It shall be unlawful for any person employed by or associated with any
19          enterprise engaged in, or the activities of which affect, interstate or foreign
20          commerce, to conduct or participate, directly or indirectly, in the conduct of
21          such enterprise’s affairs through a pattern of racketeering activity or
22          collection of unlawful debt.”
23          90. The above conduct caused injury to Plaintiffs’ property and business. It made
24   it difficult for Plaintiffs to obtain clients and to recruit employees, the conduct impaired
25   Plaintiffs’ reputation in the legal community, caused lost income that Plaintiffs expected
26   to be paid, and were not, and caused Plaintiff McMillan vexation and diverted his
27   attention from his personal and professional obligations.
28          91. The above violations were made in furtherance of financial gain.


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1           92. Defendants had a discernable structure apart from the predicate acts, i.e., they
2    are biologically related.
3           93. The acts of Defendants herein were intended to unlawfully compel the targets
4    of the Defendants to take actions which were against their own interests, in order to avoid
5    the dissemination of information that was false, that was private, and that would
6    stigmatize the Defendants’ targets, including Plaintiffs herein.
7           94. The acts of Defendants as described herein, were willful and malicious in that
8    Defendant DARREN intentionally and deliberately retained monies owed to Plaintiff, and
9    in order to avoid the negative consequences of Plaintiffs’ advocacy, Defendants and each
10   of them engaged in extra-judicial conduct intended to dissuade Plaintiff from representing
11   his clients Wendy Mateo and Susan A.
12          95. As a result of Defendants bad acts and as Defendants’ objective in committing
13   such acts, Plaintiffs were damaged including but not limited to damages from losing
14   prospective clients and the revenue expected from them, Plaintiffs’ trademarks are
15   impaired as a result, and other damages. Plaintiffs’ damages were severe and extensive,
16   resulting in losses to Plaintiffs in an amount according to proof at trial.
17          96. Plaintiffs requests damages in an amount not less than $2,000,000, in an
18   amount to be trebled and attorneys fees according to 18 U.S.C. § 1964(c).
19          97. Plaintiff requests injunctive relief to prevent prevent and restrain violations of
20   section 1962 by issuing appropriate orders, including, but not limited to: ordering
21   Defendants divest themselves of any interest, direct or indirect, in any enterprise;
22   imposing reasonable restrictions on the future activities or investments of Defendants,
23   including, but not limited to, prohibiting Defendants from engaging in the same type of
24   endeavor as the enterprise engaged in, the activities of which affect interstate or foreign
25   commerce; or ordering dissolution or reorganization of any enterprise, making due
26   provision for the rights of innocent persons, including Plaintiff herein.
27          98. Plaintiffs requests that the Court revoke Defendant DARREN Chaker’s
28   supervised release, and order him to remove the posts, or execute such documents that


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1    would compel the removal of those posts, all of which he has published in contempt of
2    the Court’s order for supervised release.
3           99. Plaintiffs requests that the Court also issue an order to Darren Chaker
4    requiring him to request the removal of his posts from the Internet forums in a form that
5    may be published to the third parties, i.e., Pissedconsumer.com and
6    Complaintsboard.com, that have published defendants’ harrassing and defamatory posts.
7    Plaintiff request that the Court make a finding that such posts are contrary to the
8    conditions of Defendant DARREN’s supervised release and thereby unlawful. With such
9    a finding, and an order that Chaker remove those post, those sites would willingly do so.
10          100. Plaintiffs requests that the Court also issue an order with findings such that
11   can be published to those search engines that have indexed the posts, i.e., Google, Yahoo,
12   and Bing, and findings that such posts were placed by Defendant DARREN contrary to
13   the Judgment in this case and the Court’s terms of Defendant DARREN ’s supervised
14   released. And that Defendant DARREN be ordered to request the removal of such posts
15   from such search indices. Plaintiff’s hope and expectation is that those third parties would
16   be persuaded to remove the posts from the respective index.
17                               SECOND CLAIM FOR RELIEF
18        (Against All Defendants, Racketeer Influenced and Corrupt Organizations Act,
19                                      18 U.S.C. § 1962(d))
20          101. Plaintiffs repeat and reallege the averments contained in paragraphs 1-82,
21   and 84 through 100 as though fully set forth herein.
22          102. Defendants knowingly agreed to facilitate a scheme that included the
23   operation of a RICO enterprise.
24          103. The conspiracy was inter-familial.
25                                THIRD CLAIM FOR RELIEF
26                (Civil Extortion - Against Defendants DARREN and NICOLE)
27          104. Plaintiffs repeat and reallege the averments contained in paragraphs 1-82,
28   and 84 through 100, and 102 through 103, as though fully set forth herein.


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1           105. Defendants conduct was unlawful as a matter of law, in that Defendant
2    DARREN had been forbidden from types of expressive conduct by the terms of his Pre-
3    Trial release, the terms of his confinement and Bureau of Prisons regulations, and the
4    terms of his supervised release. Defendant NICOLE was aware of these restrictions.
5           106. Extortion is the obtaining of property from another, with his consent, or the
6    obtaining of an official act of a public officer, induced by a wrongful use of force or fear,
7    or under color of official right. (Penal Code § 518.)
8           107. Defendants attempted to obtain property from Plaintiffs, i.e., the right to
9    continue to practice law consistent with the California Business and Professions Code,
10   and the California Rules of Professional Conduct, with respect to the advocacy on behalf
11   of Susan A..
12          108. Defendants attempted to obtain property from Plaintiffs, i.e., the right to
13   collect on a debt due and owing by virtue of the fee award in the Chaker v. Mateo action.
14          109. Defendants attempted to obtain property from Plaintiffs, i.e., the right to
15   continue to collect and publish cases through the website FEARNOTLAW.COM.
16          110. Defendants attempted to obtain an official act of a public officer, i.e., a
17   judge, through Plaintiffs’ clients acquiesence.
18          111. Defendants wrongfully attempted to induce fear as that term is used in Penal
19   Code section 519, which provides in pertinent part under the heading “threats”:
20          “Fear, such as will constitute extortion, may be induced by a threat of any of
21          the following:
22                  1. To do an unlawful injury to the person or property of the
23                  individual threatened or of a third person.
24                  2. To accuse the individual threatened, or a relative of his or
25                  her, or a member of his or her family, of a crime.
26                  3. To expose, or to impute to him, her, or them a deformity,
27                  disgrace, or crime.
28                  4. To expose a secret affecting him, her, or them.


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1                                                ***
2    (Penal Code § 519)
3           112. Defendants threats were both express, and were implied by the contents of
4    the various writings and the surrounding circumstances.
5           113. Defendants transmitted the threats comprising extortion.
6           114. The Statutes of Limitations regarding the bringing of the present claims have
7    been tolled due to Defendants’ absence from the State of California according to
8    California Code of Civil Procedure section 351:
9           “If, when the cause of action accrues against a person, he is out of the state,
            the action may be commenced within the term herein limited, after his
10          return to the state, and if, after the cause of action accrues, he departs from
            the state, the time of his absence is not part of the time limited for the
11          commencement of the action.”
12   (Cal. Civ. Proc. Code § 351.)
13          115. As a direct and proximate result of the acts of Defendants as alleged in the
14   Third Cause of Action above, Plaintiffs were injured. Plaintiff McMillan suffered
15   economic damage, expense, and humiliation, including, but not limited to, emotional
16   upset, anxiety, mental suffering, and damage to his reputation. Plaintiff McMillan also
17   suffered loss of time. Plaintiff McMillan is therefore entitled to compensatory damages
18   in an amount which will compensate for him all the detriment proximately caused by
19   Defendants' acts, whether foreseeable or not, according to proof at time of trial, in
20   accordance with Civ. Code § 3333.
21          116. Plaintiff TMLF was damaged by the loss of goodwill resulting from the false
22   statements published by Defendants’ “making good” on the threats. Plaintiff TMLF was
23   damaged by the lost advertising expenses which were negated by the false statements
24   published by defendants.
25          117. Defendants’ conduct was malicious, oppressive and/or fraudulent within the
26   meaning of California Civil Code § 3294, thereby entitling Plaintiffs to an award of
27   punitive damages in an amount according to proof at time of trial.
28                                             -oOo-


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1                                    PRAYER FOR RELIEF
2           WHEREFORE, Plaintiffs pray for relief as follows:
3           1. For an Order enjoining Defendants, their agents, and those acting in concert or
4    conspiracy with them, temporarily during the pendency of this action and permanently
5    thereafter from and further violation of 18 U.S.C. §§ 1961 et seq.;
6           2. For compensatory damages according to proof;
7           3. For an award of treble damages pursuant to 18 U.S.C. § 1964;
8           4. For attorneys’ fees pursuant to 18 U.S.C. § 1964 or as otherwise provided by
9    law;
10          5. For punitive and exemplary damages pursuant to Cal. Civil Code § 3294 or as
11   otherwise provided by law;
12          6. For an award of costs of suit;
13          7. For an award of pre-judgment interest and post-judgment interest in the
14   maximum amount permitted by law;
15          8. For such other and further relief as the Court deems just and proper.
16   Dated: August 24, 2016                      The McMillan Law Firm, A.P.C.
17                                               /s/ Scott A. McMillan
18                                      BY:      ______________________________
19                                               Scott A. McMillan
                                                 Attorney, In Propria Persona, and on behalf of
20                                               Plaintiff The McMillan Law Firm, A.P.C.
21
                                  DEMAND FOR JURY TRIAL
22
            Plaintiff demands a jury trial on all causes of action so determinable.
23
     Dated: August 24, 2016                      The McMillan Law Firm, A.P.C.
24
                                                 /s/ Scott A. McMillan
25
                                        BY:      ______________________________
26
                                                 Scott A. McMillan
27                                               Attorney, In Propria Persona, and on behalf of
                                                 Plaintiff The McMillan Law Firm, A.P.C.
28


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JS 44 (Rev. 07/16)                     CIVIL COVER148 SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
SCOTT A. MCMILLAN, an individual, THE MCMILLAN LAW FIRM, APC,                                               DARREN D. CHAKER, NICOLE CHAKER, VANIA CHAKER
a California professional corporation

    (b) County of Residence of First Listed Plaintiff             San Diego County, CA                        County of Residence of First Listed Defendant               San Diego County, CA
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
Scott A. McMillan, CBN 212506                                                                                                                                '16CV2186 JM MDD
The McMillan Law Firm, APC, 4670 Nebo Drive, Suite 200, La Mesa, CA
91941, Telephone (619) 464-1500 x 14

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                         and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF        DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1        ’ 1       Incorporated or Principal Place      ’ 4      ’ 4
                                                                                                                                                          of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2     ’    2   Incorporated and Principal Place    ’ 5     ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                              of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3     ’    3   Foreign Nation                      ’ 6     ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                          BANKRUPTCY                    OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158            ’ 375 False Claims Act
’   120 Marine                       ’   310 Airplane                 ’ 365 Personal Injury -              of Property 21 USC 881        ’ 423 Withdrawal                   ’ 376 Qui Tam (31 USC
’   130 Miller Act                   ’   315 Airplane Product               Product Liability        ’ 690 Other                               28 USC 157                         3729(a))
’   140 Negotiable Instrument                 Liability               ’ 367 Health Care/                                                                                    ’ 400 State Reapportionment
’   150 Recovery of Overpayment      ’   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                  ’ 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              ’ 820 Copyrights                   ’ 430 Banks and Banking
’   151 Medicare Act                 ’   330 Federal Employers’             Product Liability                                            ’ 830 Patent                       ’ 450 Commerce
’   152 Recovery of Defaulted                 Liability               ’ 368 Asbestos Personal                                            ’ 840 Trademark                    ’ 460 Deportation
        Student Loans                ’   340 Marine                         Injury Product                                                                                  ’ 470 Racketeer Influenced and
        (Excludes Veterans)          ’   345 Marine Product                 Liability                            LABOR                       SOCIAL SECURITY                      Corrupt Organizations
’   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY             ’ 710 Fair Labor Standards          ’   861 HIA (1395ff)               ’ 480 Consumer Credit
        of Veteran’s Benefits        ’   350 Motor Vehicle            ’ 370 Other Fraud                     Act                          ’   862 Black Lung (923)           ’ 490 Cable/Sat TV
’   160 Stockholders’ Suits          ’   355 Motor Vehicle            ’ 371 Truth in Lending         ’ 720 Labor/Management              ’   863 DIWC/DIWW (405(g))         ’ 850 Securities/Commodities/
’   190 Other Contract                       Product Liability        ’ 380 Other Personal                  Relations                    ’   864 SSID Title XVI                   Exchange
’   195 Contract Product Liability   ’   360 Other Personal                 Property Damage          ’ 740 Railway Labor Act             ’   865 RSI (405(g))               ’ 890 Other Statutory Actions
’   196 Franchise                            Injury                   ’ 385 Property Damage          ’ 751 Family and Medical                                               ’ 891 Agricultural Acts
                                     ’   362 Personal Injury -              Product Liability               Leave Act                                                       ’ 893 Environmental Matters
                                             Medical Malpractice                                     ’ 790 Other Labor Litigation                                           ’ 895 Freedom of Information
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’ 791 Employee Retirement             FEDERAL TAX SUITS                      Act
’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:                     Income Security Act           ’ 870 Taxes (U.S. Plaintiff        ’ 896 Arbitration
’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                                                      or Defendant)               ’ 899 Administrative Procedure
’   230 Rent Lease & Ejectment       ’   442 Employment               ’ 510 Motions to Vacate                                            ’ 871 IRS—Third Party                    Act/Review or Appeal of
’   240 Torts to Land                ’   443 Housing/                       Sentence                                                            26 USC 7609                       Agency Decision
’   245 Tort Product Liability               Accommodations           ’ 530 General                                                                                         ’ 950 Constitutionality of
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION                                                            State Statutes
                                             Employment                 Other:                       ’ 462 Naturalization Application
                                     ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration
                                             Other                    ’ 550 Civil Rights                   Actions
                                     ’   448 Education                ’ 555 Prison Condition
                                                                      ’ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original             ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from     ’ 6 Multidistrict                   ’ 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                    Litigation -
                                                                                                                        (specify)                        Transfer                        Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           18 U.S.C. 1961(1) and 1962(c), (d)
VI. CAUSE OF ACTION Brief description of cause:
                                           Extortion
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION         DEMAND $                                                                            CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                6,000,000.00                                                                       JURY DEMAND:         ’ Yes     ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE Larry A. Burns                                                                              DOCKET NUMBER 15cr7012-LAB
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
08/24/2016                                                              /s/ Scott A. McMillan
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                           MAG. JUDGE

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                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
         sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more than
         one nature of suit, select the most definitive.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.




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Gmail- Important: We noticed Ulmsuai activity in your PayPal account (Re...




                                                                                           Scolt McMillan <scott4670@gmail.com>



         1m portant: We noticed               Ui1l.1su~:iI   activity in your Pay Pal account (Ref
         #PP-003-483-729-(67)
          serv;ce@paypal.com <service@paypal.com>                                                      Wed, Oct 22, 2014 at 1:46 AM
          To: Scott McMillan <scott4670@gmail.com>




                                                                            Reference #PP-003-483-729-067

                              Account Sla\us Update                                     Response required
                              Change your password and security questions                     Upon receipt



                 Log in to your PayPal account as soon as possible

                Dear Scott McMillan,

                Recently, there's been activity in your PayPal account that seems unusual compared to
                your normal account activities. Please log in to PayPal to confirm your identity and update
                your password and security questions.

                To help protect your account, no one can withdraw money or send money. In addition, no
                one can close your account, send refunds, remove credit cards, remove any bank
                accounts, add a bank account, add a card, or add money to your account.

                What's going on?

                We're concerned that someone is using your PayPal account without your knowledge.
                Recent activity from your account seems to have occurred from a suspicious location or
                under circumstances that may be different than usual.



                  What to do

                  Log in to your PayPal account as soon as possible. We may ask you to confirm
                  information you provided when you created your account to make sure you're the
                  account holder. We'll then ask you to change your password and security questions.

                  You should also do the following for your own protection:

                       • Check your aCCQunt details (address, email.phone.etc.)tomakesurethey.re
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                       $'   Review your account activity to make sure you recognize the transactions
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                          and click Dispute a Transaction.



                 What's next?

                 Let's work together to restore your account. After you complete all of the tasks, we should
                 respond within 72 hours.

                 Thanks for choosing PayPal. If you need help or have any queslions, call us at
                 1-888-·221-1161,4:00 AM to 10:00 PM Pacific Time Monday through Friday, 6:00 AM to
                 8:00 PM Pacific Time Saturday and Sunday, Please note that hours of operation may vary
                 on holidays.

                 Sincerely,
                 PayPal




            Help Center   l SeGurity Center
            This email wassenlbyanautomatedsystem.soif you reply, nobody will see it. To get in touch
            with us, log in to your account and click "Contact Us" at the bottom of any page.

            Copyright © 2014 Pay Pal, Inc. All rights reserved. PayPal is located at 2211 N. First St, San Jose,
            CA 95131.



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                                                                                    Scott A McMillan <scotl@mcmillanlaw.uS'>



Suspiciolls sign in detected on your Twitter account
Twitter <password@twitter.com>                                                                     Sat, Nov 29, 2014 at 2:15 PM
To: Scott A McMillan <scotl@mcmillanlaw.us>




                 Hi Scott A McMillan,

                 We noticed that someone recently tried to sign in 10 your Twitter account
                              from an unusual device or location.

                 If this wasn't you, change your password now:


                 If this was you, confirm your identity by using this temporary code:
                 rdc2hjxc
                 You can also enter this code where you would normally enter your
                 password when you sign in. Once you confirm your identity, you can
                 continue using your current password.

                 If you're having trouble, you can                   a nr(1hlr'm

                 Thank you,
                 The Twiller Security Team



               For more help, go to the Twitter          Center.
               If you received this message in error and did not sign up for Twitter, dick not my t.JCcount.
               Please do not reply to this message; it was sent from an unrnonitored email address.This
               message is a service email related to your use ofTwltter.
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     Maura Larkins Linked to Sex Abuse




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                                                                                        <scolt@mcmil!anlaw.us>
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Scott 1\lh::Miilan
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To: scott@mcmillanlaw.us


  Scott McMillan and family are child molesters per a recent report,

  http://scott-mcmillan-law. blogspot.com/2014/11/scott-mcmillan-la-mesa.html
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                                                                        Scott A McMillan <scoti@mcmillanlaw.lIS>



Pending Paternity Case -
Darrell Chaker <darrenchaker@gmail.com>                                                  Mon, Dec 22, 2014 al1:57 AM
To: Scott A McMillan <scotl@mcmillanlaw.us>

 Greetings,

 As it concerns your desire to move forward with the bond hearing, please advise:

  1. Do you oppose your client being present as a witness? Her mother? Will you accept service for each?

 2. Based on the second declaration, you now assert a third party male is the real father of Logan.      As such, do
 YOLI intend to give notice to the potential father and it with the court?


 Again, as I reiterated in the certified letter you signed for last week, I am requesting contact with my son. I would
 like to see him, even Skype, provide him clothes I know he needs, a new tablet computer, and whatever else he
 needs. Please respond as this is a pressing issue and I hal<e never heard back from you/client to allow me to do
 such despite my repeated attempts to do so since 7/13.

  Kindly respondent by the close of business today.

 Oh, and of course, happy holidays ...


 Darren Chaker
 1140 Wall Street, #77
 La Joila, CA 92038

 Conlidenlialily Nolice: lhis message, along with any attachments and/or replies thereto, are covered by the
 Electronic Communications Privacy Act, 18 U.S.C. Sections 2510-2521, and are may be legally privileged. The
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                                                                          Scott A McMillan <scott@mcmillanlaw.!l!l>



Request to See Son
Darren Chaker <darrenchaker@gmaiLcom>                                                     Tue, Dec 23, 2014 at 10:08 AM
To: Scott A McMillan <scott@mcmillanlaw.us>

  Holiday Greetings,

 To clarify my former 12/22 request sent in the early morning hours, but presume il made sense-

 As indicated in my certified letter your office signed for a week ago, the certified letter sent to you while I was in
 custody, and multiple voice mail and email send to you since 7/13/13, I am requesting to:

  1. See my son;
 2. Skype with my son;
 3. Send him Christmas presents;
 4. Provide clothing and other support;
 5. A new tablet computer; and
 6. Any other needs I am informed of my son needs.

  Again, as I reiterated in the certified letter you signed for last week, I am requesting contact with my son. I would
  like to see him, even Skype, provide him clothes I know he needs, a new tablet computer, and whatever else he
  needs. Please respond as this is a pressing issue and I hS\ie never heard back from you/client to allow me to do
  such despite my repeated attempts to do so since 712013.

  As the judge said that you are Ms. Adcock, please advise without delay as I intend to be part of my son's life.


  Darren Chaker
  1140 Wall Street, #17
  La Jolla, CA 92038
  Confidentiality Notice: this message, along with any attachments andlor replies thereto, are covered by the
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The McMillan Law Finn Complaints & Reviews


The McMjllan Law Finn - California, La Mesa / Scott
McMillan should offer clients an apology and refund
money
Sc     Icott-manRlan-law-llnn-ll-mesa on 2015-12-17

McMillan Law Firm, operated by Scott McMillan and Michelle Volk, 4670 Nebo Dr #200,
La Mesa, CA 91941, Scott McMillan purports to be a 'leadjng' San Diego attorney, but
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appears to not tell people his past with child molestation allegations, or that he is also
the Dean of his own law...
  United States, California, La Mesa   Lawyers and Attorneys




The-McMillan -Law-Firm / Scott-McMillan -San -Diego
Tr   Tracy Law Houston on 2011-12-05

Child Molester, see attached report, Ken Bourke - fellow realtor Barbra Bolla - filed a
brief admitting La Mesa Attorney Scott McMillan provided legal services in connection
with writing his brief on appeal where Ken Bourke is representing himself. This is
unlawful/unethical practice ...
  United States       Lawyers and Attorneys




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Mega Pacific Employment Services
Scam
   6        0 mins ago

Wigs
Not a legit business
   1         2 mins ago

Nokia Co - Operation United Kingdom
Winning prize
  84        1 hr 19 mins ago

BuyHGH UK
Takes Money- Delivers Nothing
   1      1 hr 44 mins ago

Anabolic Steroids
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Scam website
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Consumer Tips" Tricks



      " I.      Debt ReliefSysteI1Is _5 Easy Types


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  •      ~,     What You Need to Know About Prosper.com


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Worst rating


1. Orange Cab (-5)
2. Tods (-4)
3. pro        sing service center (-3)
4. Wlsh.cam (-3)
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6. Tru BelIeD (-3)
7. Institute for Fin..dal Freedom (-3)
8. GIassesUSA.cam (-2)
9. Ruby Tuesday (-2)
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Subjects of Wide Speculation


1. AIIIIns Space Station (9)
Hard Earned Money Stuck
2. eaUfom" PsydIlcs (9)
Scam/Fraud
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3. East End Ragdolls / JMlnifer Rlddll (7)
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4. NoFlameeClg.com (7)
Free offer scam
5. Wl5h.com (6)
Fraud
6. Onmge Cab (6)
Why there is no local cab service in ForestGroveOregon/Cabdid not show up.
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Stay Away

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2. Stylewe (5)
3. WigSis (3)
4. Shoney's (1)



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 Today's Mess-Up Photo


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